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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


  CENTER FOR BIOLOGICAL
                                             Case No. 8:21-cv-1521-WFJ-CPT
  DIVERSITY, TAMPA BAY
  WATERKEEPER, SUNCOAST
  WATERKEEPER, MANASOTA-88, and              EXHIBIT A
  OUR CHILDREN’S EARTH
  FOUNDATION,                                TO

         Plaintiffs,                         FIRST AMENDED COMPLAINT FOR
                                             DECLARATORY AND INJUNCTIVE
        v.                                   RELIEF
  GOVERNOR RON DeSANTIS,
  and                                       Plaintiffs’ May 17, 2021 Notice of Intent to Sue

  SHAWN HAMILTON, in his official
  capacity as ACTING SECRETARY,
  FLORIDA DEPARTMENT OF
  ENVIRONMENTAL PROTECTION,
  and
  HRK HOLDINGS, LLC,
  and
  MANATEE COUNTY PORT
  AUTHORITY,
         Defendants.
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                        Law Offices of Charles M. Tebbutt, P.C.
                                 941 Lawrence Street
                                  Eugene, OR 97401
                         Ph: 541-344-3505 Fax: 541-344-3516
                                                                                    May 17, 2021


   THIS IS AN URGENT LEGAL MATTER REQUIRING YOUR
                 IMMEDIATE ATTENTION
 Via Registered Mail, Return Receipt Requested:

  Governor Ron DeSantis           Noah Valenstein, Secretary        Manatee County Port
  Office of Governor Ron          Florida Department of             Authority
  DeSantis                        Environmental Protection          300 Tampa Bay Way
  State of Florida                3900 Commonwealth                 Palmetto, FL 34221
  The Capitol                     Boulevard M.S. 49
  400 S. Monroe St.               Tallahassee, FL 32399
  Tallahassee, FL 32399-0001

  HRK Holdings, LLC               Site Manager
  Registered Agent: Jeffrey       Eastport Development and
  Barath                          Piney Point Complex
  13500 Scale Ave.                13300 Highway 41 N
  Palmetto, FL 34221              Palmetto, FL 34221

 Via Certified Mail, Return Receipt Requested:

  Deb Haaland, Secretary of the Interior             Martha Williams, Acting Director
  U.S. Department of the Interior                    U.S. Fish and Wildlife Service
  1849 C Street, N.W.                                1849 C Street, N.W.
  Washington, D.C. 20240                             Washington, D.C. 20240
  doiexecsec@ios.doi.gov                             Martha_Williams@fws.gov

  Gina Raimondo, Secretary                           Dr. Paul Doremus, Acting Assistant
  U.S. Department of Commerce                        Administrator
  1401 Constitution Ave., N.W.                       NOAA Fisheries
  Washington, D.C. 20230                             1315 East-West Highway
  graimondo@doc.gov                                  Silver Springs, M.D. 20901
                                                     Paul.Doremus@noaa.gov

 Other recipients identified on signature page




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  NOTICE OF INTENT TO SUE PURSUANT TO THE RESOURCE CONSERVATION
     AND RECOVERY ACT, 42 U.S.C. § 6972(a)(1)(B); THE FEDERAL WATER
      POLLUTION CONTROL ACT, 33 U.S.C. § 1365(a)(1); & THE FEDERAL
             ENDANGERED SPECIES ACT, 16 U.S.C. § 1540(g)(1)(A)

 Dear Governor DeSantis, Secretary Valenstein, Manatee County Port Authority, Mr. Barath,
 Eastport Development and Piney Point Complex Site Manager, Sec. Haaland, Acting Director
 Williams, Sec. Raimondo, and Acting Assistant Admin. Doremus:

         Pursuant to the citizen suit provisions of the 1976 Amendments to the Solid Waste
 Disposal Act (hereinafter referred to as the “Resource Conservation and Recovery Act” or
 “RCRA”), 42 U.S.C. § 6972(a)(1)(A) & (B); the citizen suit provision of the Federal Water
 Pollution Control Act, 33 U.S.C. § 1365(a)(1)(A) (hereinafter the “Clean Water Act” or
 “CWA”); and the citizen suit provision of the Federal Endangered Species Act, 16 U.S.C. §
 1540(g)(1)(A) (hereinafter the “Endangered Species Act” or “ESA”), the Center for Biological
 Diversity, Tampa Bay Waterkeeper, Suncoast Waterkeeper, ManaSota-88, and Our Children’s
 Earth Foundation (collectively referred to hereinafter as the “Notifying Parties”) hereby notify
 you that on or after the 90th day from the date of your receipt of this notice for the RCRA claims
 identified herein, on or after the 60th date from the date this notice was mailed for the CWA
 claims identified herein, and on or after the 60th date from the date this notice was mailed for the
 ESA claims identified herein, Notifying Parties intend to initiate a citizen suit in the United
 States District Court for the Middle District of Florida or another court of competent jurisdiction
 against you concerning the open dumping and imminent and substantial endangerment threat to
 human health and the environment in violation of RCRA, unlawful discharges of pollutants to
 navigable waters in violation of the CWA, and the illegal ongoing “take” of threatened and
 endangered species, all occurring at the former Piney Point Phosphate facility, located at 13300
 Highway 41 North, Palmetto, FL 34221 (hereinafter “Piney Point”).

         Furthermore, Notifying Parties hereby inform you that they will immediately initiate a
 citizen suit against you pursuant to RCRA, 42 U.S.C. § 6972(a)(1)(B) and 42 U.S.C.
 § 6972(b)(2)(A), which authorizes such immediate suit “after such notification in the case of an
 action under this section respecting a violation of subchapter III of this chapter.” In particular,
 and as described below, the comingling and intermixing of dredged material from the Port
 Manatee Berth 12 expansion and precipitation falling at the site, with the process wastewater and
 phosphogypsum stacks located beneath the High Density Polyethylene (“HDPE”) liners at Piney
 Point, has created a toxic waste and/or leachate that satisfies all regulatory requirements for
 being deemed a hazardous waste. The Piney Point impoundments and wastewater infrastructure
 are not compliant with any of the requirements under RCRA subchapter III (also known as
 RCRA Subtitle C) for hazardous waste storage, treatment, and disposal facilities. See generally
 42 U.S.C. § 6924; 40 C.F.R. Part 264 (“Standards for Owners and Operators of Hazardous Waste
 Treatment, Storage, and Disposal Facilities.”). Consequently, you are subject to an RCRA
 immediate lawsuit following your receipt of this notice letter.

        For reference, Figure 1 below is aerial imagery of the Piney Point Site:




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 Figure 2 below depicts Piney Point’s water management features as they existed in 2010
 (excerpted from FDEP File No. FL0000124-003-AA):




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                                        BACKGROUND

 I.     Introduction

         Piney Point was a phosphate fertilizer plant owned and operated by multiple different
 corporations from 1966 until operations ceased in 1999. Historically, Piney Point consisted of an
 acid plant, a phosphoric acid plant, an ammoniated phosphate fertilizer plant with storage for
 ammonia, phosphoric acid, and other products necessary for the manufacture of fertilizer, and
 related facilities. All were located within an approximately 670-acre parcel of land.

         Phosphoric acid production involves the use of acidic solutions to separate phosphorus
 from phosphate-containing rock. The resulting waste is phosphogypsum. Phosphogypsum is
 watery when it is first stored, but over time it dries, and a crust forms over the top, forming
 “stacks.” At Piney Point, this toxic waste was formed into large stacks which rose as high as 70-
 80 feet and encompassed 457 acres.

         Phosphogypsum is radioactive and can contain uranium, thorium, and radium. Over time,
 uranium and thorium decay into radium, and radium subsequently decays further into radioactive
 radon, the second-leading cause of lung cancer in the United States. Radium-226, found in
 phosphogypsum, has a 1,600-year radioactive decay half-life. In addition to high concentrations
 of radioactive materials, phosphogypsum and associated process wastewater can contain
 carcinogens and heavy toxic metals like antimony, arsenic, barium, cadmium, chromium, copper,
 fluoride, lead, mercury, nickel, silver, sulfur, thallium and zinc.

         While commercial operations were underway at Piney Point, precipitation falling onto the
 site was consumed by the phosphate fertilizer operation. That precipitation, in addition to water
 used directly in the manufacturing process, is called “process wastewater.” Process wastewater is
 highly acidic and can contain heavy metals such as arsenic, cadmium, chromium, and fluoride, in
 addition to high levels of nutrients, nitrogen, and dissolved solids. Like the phosphogypsum
 stacks, process wastewater is also radioactive.

 II.    FDEP Assumes Ownership and Control of Piney Point

         Piney Point Phosphates, Inc., a wholly-owned subsidiary of Mulberry Corporation, was
 the owner and operator of Piney Point in 2001. In February 2001, Mulberry Corporation filed for
 bankruptcy and provided Florida State officials with 48 hours’ notice that it was abandoning the
 property. The property’s ownership and operation then passed to the Florida Department of
 Environmental Protection (“FDEP”) through a court-ordered receivership, also in February 2001.
 When operations ceased, all precipitation falling onto the site required detention because of its
 contact with process wastewater. Between February 2001 and February 2004, FDEP discharged
 approximately 1.1 billion gallons of precipitation and process wastewater from Piney Point into
 Tampa Bay and Bishop Harbor.

         In 2001, FDEP asked the Circuit Court in Manatee County, Florida to appoint a receiver
 to manage the site for and on behalf of FDEP. FDEP, through its receiver, retained contractors to
 investigate the site and propose a means of handling the wastewater and dealing with the existing



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 phosphogypsum stacks. As part of that investigation, FDEP determined that closure of the site
 was required. FDEP decided to institute a closure plan involving the placement of HDPE single
 liners over the existing phosphogypsum stacks and associated cooling ponds. Importantly, this
 closure plan was not compliant with any aspect of RCRA Subtitle C, pertaining to hazardous
 waste treatment, storage, and disposal requirements. See generally 42 U.S.C. § 6924; 40 C.F.R.
 Part 264. This is because phosphogypsum stacks and related process wastewater are exempt from
 RCRA’s hazardous waste regulations pursuant to the “Bevill” amendment. 40 C.F.R.
 § 261.4(b)(7)(D). This exemption is vitiated, however, when solid wastes comingle, creating a
 waste and/or leachate that itself satisfies the regulatory definition of hazardous waste.

         Between 2001 and 2004, FDEP worked with a series of contractors at Piney Point with
 the goal of implementing its closure plan at the site. This included converting the existing
 phosphogypsum stacks into reservoirs capable of storing precipitation that fell onto the site. To
 achieve this goal, FDEP hired Ardaman & Associates, Inc. (“Ardaman”) and Comanco
 Environmental Corporation (“Comanco”) to engineer and install HDPE liners over the
 phosphogypsum stacks. Through that process, FDEP installed approximately 2,593,000 square
 feet of HDPE liner at the “New Gypsum Stack-North” or “NGS-N” stack and at the two other
 stacks existing at the facility at this time – the “Old Gypsum Stack South,” and “Old Gypsum
 Stack North.”1 Additionally in 2001, FDEP discharged approximately 50 million gallons of
 wastewater into Bishop’s Harbor as part of its plan to dewater the stack impoundments.

 III.    HRK Purchased Piney Point, Subject to FDEP’s Authority & Closure Plan

         FDEP was the real property owner of the site until August 2006 when HRK Holdings
 LLC (“HRK”) purchased Piney Point in connection with the Mulberry Corporation’s bankruptcy
 proceeding. As part of that purchase, FDEP and HRK entered into an Administrative Agreement,
 FDEP OGC No. 06-1685. In that Agreement, HRK agreed that FDEP would continue to work
 with its contractors – Ardaman, Comanco, and CDM Constructors, Inc. (“CDM”) – to complete
 FDEP’s closure plans and to address the “imminent hazard related to the Phosphogypsum Stack
 System[.]” That Agreement states that FDEP’s contractors “prepared conceptual closure plans
 for the entire Phosphogypsum Stack System at the Site and detailed plans and specifications for
 specific portions of” the site, and makes clear that “HRK had no role in the development of the
 design, drawings, specifications, and phased Closure construction of the entire Phosphogypsum
 Stack System” by Ardaman and CDM Constructors, Inc. Indeed, pursuant to that Agreement,
 “HRK was not an owner or operator of the Phosphogypsum Stack System or any other part or
 component at or on the Site, nor was HRK a generator of any Solid Waste or Hazardous
 Substances at or on the Site.” HRK was required in the Agreement to allow FDEP and its
 contractors access to complete FDEP’s closure plan at the site, and agreed that FDEP “shall
 continue to exercise regulatory control” over the closure and “any post-closure activities at the

 1
   Notifying Parties presently understand that the phosphogypsum stacks stored at Piney Point are located in the
 “New North Gypstack” or “NGS-N” and the “New South Gypstack,” or “NGS-S.” Both “gypstacks” are single-lined
 with an 80-mil HDPE liner. Piney Point also presently includes a lined process water sump pond, denoted as
 “LPWS,” and two “closed gypstack” areas. Seepage from the NGS-N and NGS-S is intended to be captured by
 seepage collection systems, which all convene into one well. That well is then pumped into the LPWS. When the
 storage volume in the LPWS is insufficient, a pumping system pumps collected seepage and wastewater from the
 LPWS into either the NGS-N or NGS-S. The total volume of contaminated wastewater in the three pond structures –
 the LPWS, NGS-N, and NGS-S – is approximately 600,000,000 gallons.


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 Site…such as the final cover, liners, monitoring system and process water management and
 stormwater controls.”

 IV.    FDEP Approves Use of Piney Point for Dredged Material Storage

         In 2005, as part of Phase III of the Manatee Harbor Navigation Project, the Manatee
 County Port Authority (the “MCPA” or “Port Manatee”) began exploring plans to create a
 deepwater berth suitable for use by large shipping vessels and to reduce vessel congestion within
 the Port Manatee. The MCPA developed a plan to create an access channel to a new berthing
 area. The project involved impacts to 11.92 acres of shallow bay bottoms, primarily caused by
 dredging, and was expected to produce 1,170,000 cubic yards of dredged material. Additional
 annual maintenance dredging was anticipated to produce 300,000 cubic yards of dredged
 material. Overall, the MCPA determined it needed a disposal area sufficient to handle 3,220,000
 cubic yards of material over a twenty-year maintenance period. The MCPA itself had no suitable
 locations in which to store this large quantity of dredged material.

         The MCPA thereafter developed a plan involving the pumping of dredged materials from
 the Port expansion into Piney Point’s HDPE-lined impoundments, which overlay the preexisting
 phosphogypsum stacks. FDEP approved the permit necessary for MCPA to begin the dredging
 process in Environmental Resource Permit No. 0129291-0090-EM, as modified by FDEP.
 Shortly thereafter MCPA began negotiations with HRK and entered into a “Dredged Materials
 Containment Agreement” or “DMCA” with HRK on April 19, 2007. The DMCA specifically
 identified the Administrative Agreement between HRK and FDEP and noted that performance of
 the obligations under the MCPA “shall be of material benefit to [FDEP], and as a result of said
 material benefit, the severance fee for dredging material from sovereignty submerged lands
 should be eliminated or waived by [FDEP].” Within six months of execution of the DMCA,
 FDEP did indeed waive the aforementioned severance fee.

         FDEP and HRK subsequently entered into the First Amendment to the Administrative
 Agreement (hereinafter “Amended Agreement”) on August 20, 2007. The Amended Agreement
 stated that, since HRK’s purchase of Piney Point, FDEP “has continued to conduct [c]losure
 work and related tasks at the Site[.]” FDEP represented that “storage of dredged materials” to be
 generated by MCPA would be “compatible with the design and purpose of the lined reservoirs
 constructed by the Department[,]” and would “be of benefit to the Department.” As such, FDEP
 agreed in the Amended Agreement “to establish a process for [FDEP] review of plans for work
 under the DMCA[.]” In fact, FDEP specifically agreed that:

        Work to be performed by HRK and MCPA, respectively, under the DMCA in
        accordance with the conditions specified by this Amendment constitutes a use
        which is compatible with the design and purpose of the lined reservoirs
        constructed by [FDEP] and others at the existing Phosphogypsum Stack System
        and with the ongoing Closure of the Phosphogypsum Stack System at the Site
        conducted by [FDEP] as well as constituting a beneficial use of the Site which is
        in the public interest.




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 FDEP stipulated in the Amended Agreement not to place a protective soil cover over the three
 impoundments to be initially used for dredged material storage: the OGS-N, OGS-S, and NGS-S
 (defined as the “lined DMCA Reservoir Compartments”). These impoundments would instead be
 used for the storage of dredged material from MCPA. FDEP specifically retained the right to
 “freely utilize” the NGS-N “for storage and management of process water[.]” FDEP further
 agreed that:

        Placement of dredged materials that does not adversely affect the integrity of the
        environmental protection measures and that does not interfere with the work to be
        performed by [FDEP] under Section III of the Agreement shall constitute a use
        that is compatible with the design and purpose of the lined reservoirs constructed
        by [FDEP] and others as part of the Closure of the Phosphogypsum Stacks at the
        Site.

          Furthermore, FDEP certified that the Amendment “constitutes [FDEP’s] written
 determination and authorization under the [original Administrative] Agreement that the
 containment and storage of dredged materials within the lined DMCA Reservoir Compartments
 along with such transport of dredged materials and resulting decant water upon and across the
 Site is a compatible use of the Site consistent with [FDEP’s] finding” that placement of the
 dredged materials constitutes “a beneficial use of the Site which is in the public interest.” The
 Amended Agreement also carried forward HRK’s requirement to seek review and approval from
 FDEP for work which could impact the phosphogypsum stacks.

         Part of the original agreement and Amended Agreement was the requirement that HRK
 provides $2.5 million to an account for the long-term operation and maintenance of the
 wastewater impoundment. Importantly, FDEP has oversight and approves all expenditures from
 that account.

 V.     FDEP and MCPA Warned by Army Corps Not To Use Piney Point for Dredge
        Disposal Containment

        In August 2008, the Army Corps of Engineers (“Corps”) issued its “Draft Phase IIII
 General Revaluation Report and Environmental Assessment Addendum” (the “Report”). That
 Report explicitly warned FDEP and MCPA not to use the Piney Point site for disposal of
 dredged materials from the Port Manatee expansion. In particular, the Report stated that:

        The Corps of Engineers would need to perform analyses to determine if the
        disposal facility meets the design and construction criteria established in Corps of
        Engineers guidance such as EM 1110-2-5027 and others as appropriate. In the
        case of the Piney Point site, there is a heightened level of concern with regard to
        the integrity of the gypsum stack which forms the foundation of the dredged
        material handling facility. The heightened level of concern follows from the
        following considerations:

            • The gypsum stack itself is not an engineered structure. There are no design
            plans and specifications, nor as built drawings, nor construction



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             documentation to support the assertion of structural integrity of the stack for
             the purpose of supporting a material handling facility to be constructed on top
             of the stack.

             • The gypsum stack itself contains hazardous and toxic material.

             • There is documentation of past slope stability and piping issues experienced
             at the site.

         The local sponsor, the site owner, and the State of Florida Department of
         Environmental Protection (DEP) have supplied data and have asserted that the site
         is approved for the use intended. However, the Corps of Engineers has found the
         data to be inconclusive.

          The Corps described that “the worst case scenario for Piney Point being used as dredged
  material disposal facility would be a breach in the liner. Such a breach would allow water to
  saturate and cause a failure to the gypsum stack, enabling the mixing of large volumes of
  dredged material with large volumes of phosphogypsum.” Not only would this have dire
  environmental consequences, but it also nullifies the phosphogypsum stacks’ legal exemption
  from the definition of hazardous waste under RCRA and makes the dredged spoils subject to
  RCRA as both a solid waste and a hazardous waste. As the Corps described:

         Water from rain and the placement of dredged slurry could percolate into [the]
         phosphogypsum stack releasing a leachate that could be corrosive and toxic. If
         leachate meets the characteristics according to 40 CFR 261.22 and 40 CFR
         261.24, then the leachate would be designated as hazardous waste. Then the
         mixture of a solid waste, with hazardous waste is considered a hazardous waste.
         The addition of dredged material to a hazardous waste will increase the
         probability of contaminating the surrounding surface and groundwater.

  Consequently, the Corps could not recommend approval of the plan in 2008. Instead, the Corps
  required FDEP to certify “Piney Point as a Dredged Material Disposal Site,” to provide adequate
  documentation of the arrangements for use of Piney Point to store the dredged materials, and for
  extensive testing to ensure “that there is no hazardous material that will enter the site.”

  VI.    FDEP And MCPA Ignore Corps’ Warning and FDEP Approves Piney Point for
         Storage of Dredged Materials, Despite Prior Knowledge that Single HDPE Liners at
         Similar Phosphogypsum Stacks were Failing

          Undeterred by the Corps’ warning, FDEP and the MCPA continued to advance their
  preferred solution of storing dredged material at Piney Point. FDEP, through its contractor
  Ardaman, prepared a report in response to the Corps’ warning, arguing that the Piney Point site
  was indeed suitable for storing such a vast quantity of material.

          The Corps thereafter asked FDEP to prepare a risk assessment of potential failure modes,
  and for FDEP to evaluate the probability or likelihood of such failure modes. FDEP instructed its



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  contractor, Ardaman, to prepare that risk assessment. In that risk assessment, Ardaman identified
  that the probability of an existing liner leak as essentially zero, although it acknowledged that a
  risk existed that the liner could be breached.

          The Ardaman risk assessment was prepared in July 2009. Days after its completion,
  Ardaman investigated a liner leak at another closed phosphogypsum stack in Florida, the Plant
  City Phosphate Complex. Ardaman and CDM were the engineers that designed and implemented
  the closure plans for the Plant City complex. Ardaman investigated leaks in the liner, which was
  also an 80-mil HDPE single liner installed over existing phosphogypsum stacks. The HDPE liner
  was significantly compromised in numerous ways: there were large fissures and cracks in the
  phosphogypsum subsurface, which forms the foundation of the liner system; the liner showed
  numerous large tears and punctures; and the liner evidenced both linear tears and tears associated
  conventional wind ballast anchor trenches.

         Ardaman informed FDEP through formal reports and meetings that a plan of action was
  necessary at the site to quickly remediate the failing 80-mil HDPE liner.

          In fact, in November 2001, Ardaman prepared a Geotechnical Study at FDEP’s direction
  for Piney Point and identified three whirlpools located in the NGS-N. It stated those whirlpools
  were examples of a well-developed system of interconnected cracks in the subsurface, which can
  create concentrated flows and/or preferential pathways in the foundational soils. The Study
  further found that:

         1.      As many as sixteen drilling fluid circulation loss zones were encountered
         in 10 out of 27 Standard Penetration Test (SPT) borings. The losses typically
         occurred within foundation sands, gypsum, and at the contact between gypsum
         and soil. Fluid losses are likely indicative of a network of vertical and horizontal
         open planes and fissures resulting from desiccation and differential settlement of
         gypsum, and historic piping of more erodible soils at the gypsum/soil interface.

         2.       Our evaluation of the potential mechanisms for piping or internal erosion
         of foundation soils beneath the stack and pond system based on historic
         performance, analytical methods, and a review of borehole and piezometric data,
         lead us to the opinion that the risk of piping failure resulting from concentrated
         seepage following fissures or cracks within the gypsum fill and along the gypsum
         fill/soil interface is high.

         3.      Three whirlpools observed during the third week of September 2001 in the
         north compartment of the new gypsum stack are examples supporting the
         mechanism of a well-developed system of interconnected cracks leading to a
         concentrated flow into existing natural and man-made outlets in the foundation
         soil. The trigger for the increased discharge from the north compartment of the
         new gypsum stack resulted from a sudden rise in pond water level associated with
         tropical storm Gabrielle. The leakage from the compartment caused its water level
         to drop by as much as 0.9 feet in three days.




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  The Study concluded that there were two likely failure modes for the phosphogypsum stack
  dikes. The first is a “foundation piping failure leading to backward erosion of a tunnel at the
  interface of gypsum and natural foundation soil, and finally connecting to a vertical crack system
  that lies in proximity of the intersection of the inner dike and pond…[t]he highest likelihood of a
  piping failure of the gypsum stack system is along the north and east sides of the NGS.” The
  second mode of failure “is a blowout of the outer face of the lower part of the stack slope due to
  a buildup of high hydrostatic pressure caused by short circuiting of the pond to a small cavity
  that has eroded below the outer toe…[t]he most likely place for this type of failure is where
  strong spring flows are established such as near the southeast corner of the NSGS.”

           Thus, despite having prior knowledge that the Piney Point gypsum stacks were already at
  risk of failure due to settling of the gypsum stacks and foundational soils, and despite having
  prior knowledge that single HDPE liners at similar phosphogypsum stacks were failing – both at
  the Plant City complex and elsewhere throughout the State – FDEP wrote to the Corps on April
  8, 2010, explaining its support of the proposed use of the Piney Point phosphogypsum stacks for
  storage and disposal of the dredged material from the Port Manatee berth expansion. Two days
  later, the Corps responded, noting that Engineer Regulation 1165-2-132, “Hazardous Toxic
  Radioactive Waste for Civil Works Projects,” specifically directed that construction in such areas
  should be avoided where practicable. The Corps therefore reaffirmed its position that the use of
  Piney Point for disposal carries unnecessary risks to the public and the environment.

         FDEP continued to ignore the Corps’ warnings, and as a result, the Corps requested, and
  FDEP provided, a formal covenant not to sue relative to the use of the closed Piney Point
  phosphogypsum stacks for storage and disposal of dredged material. The Corps also required
  assurances from FDEP that the Corps would not be considered a potentially responsible party for
  purposes of environmental clean-up in the event of a leak or discharge at Piney Point.

          FDEP thereafter officially approved the beneficial use of Piney Point for storage and
  disposal of the dredged materials, with full knowledge ahead of time that such approval posed
  significant environmental and health risks.

  VII.   FDEP Requires Emergency Measures to Mitigate Damage Resulting from the
         Compromised Piney Point Phosphogypsum Stacks and HDPE Liner

          In February 2011, as the Piney Point site was being prepared for the dredging and
  disposal operations, a crane collapsed and punctured the HDPE liner in the NGS-S. FDEP’s
  contractor, Ardaman, drained the NGS-S and visually inspected the floor of the liner.
  Approximately 150 feet from the location where the crane impacted the liner, Ardaman
  discovered a breach in the liner six inches in length, located along an extruded ballast trench
  seam. Beneath the liner breach, there was a “solution cavity” four feet in diameter and at least
  four feet deep. While the liner was repaired at the time, FDEP knew or should have known in the
  exercise of reasonable care and due diligence that this breach was evidence that the single HDPE
  liner and gypsum subsurface presented serious integrity concerns (as it was told by Ardaman in
  November 2001).




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          FDEP eventually approved all the remaining necessary state permits for MCPA to begin
  the dredging project, and the dredging of the expansion began on April 22, 2011.

          Just weeks later, as the dredging process was continuing and wastes were being disposed
  of at Piney Point, HRK reported to FDEP increased flows, conductivity, and chloride
  concentrations in the buried drains based on monitoring that was required specifically for the
  approved dredge disposal operations at the site. On May 29, 2011, FDEP issued an Emergency
  Final Order (EFO No. 11-0813) that ordered HRK to take actions to help prevent the collapse of
  the phosphogypsum stack system and its impoundments, and authorized controlled emergency
  discharges as needed to protect the integrity of the stack system or its impoundments and protect
  waters of the state.

          On June 4, 2011, dredging operations were directed to be fully suspended by FDEP based
  on continued changes in site conditions. Specifically, decreasing water levels in the NGS-S
  indicated a leak of at least 12,000 gallons per minute. On June 6, 2011, a strong vortex was
  identified near the water’s edge in the southwest corner of the NGS-S, similar to what FDEP’s
  contractor, Ardaman, identified and disclosed to FDEP nearly a decade prior in the NGS-N in the
  2001 Geotechnical Study. Attempts to repair the liner hole were unsuccessful and, consequently,
  the flow rate increased to 35,000 gallons per minute. This created another vortex by the toe of
  the slope of the impoundment, meaning the pressure being exerted on the gypsum walls of the
  impoundment threatened catastrophic failure.

          As such, on June 7, 2011, FDEP required HRK to perform a controlled breach to the
  NGS-S, specifically an area identified as the “OGS-S stormwater ditch and dike system,” to
  relieve stack pressures onsite, and to prevent an uncontrolled loss of containment from the stack
  system to offsite property and Buckeye Road, located south of Piney Point. Emergency
  discharges were performed by HRK as required by FDEP in its Emergency Final Order until
  June 16, 2011.

          All told, FDEP required HRK to discharge 169 million gallons of wastewater, consisting
  of dredged seawater mixed with process wastewater. Following this event, FDEP and Ardaman
  inspected the liner at the NGS-S and identified 29 stress cracks in the liner. In October 2011, an
  additional five stress cracks in the liner of the NGS-S were identified and disclosed to FDEP.
  Ardaman eventually concluded that a tear at the edge of the extrusion weld in the southwest
  corner of the NGS-S propagated, and the leakage found its way through preexisting preferential
  flow paths at the base of the reservoir into the foundation sand and/or earthen starter dike 12-15
  feet below, inducing erosion of the sandy soils under the elevated hydraulic head in the reservoir
  – the exact same situation Ardaman identified and disclosed to FDEP back in November, 2001 in
  its Geotechnical Study.

          HRK completed grouting and repair operations to the phosphogypsum stack system and
  its impoundments by July 19, 2011, and the dredging project was allowed to resume in July. The
  dredging project was completed on October 21, 2011. HRK filed for bankruptcy on June 27,
  2012, after the Port Manatee expansion and dredging project was complete. Beginning in August
  2012, HRK transferred 72-107 MG of process water from NGS-N to NGS-S, followed by
  subsequent smaller transfers. HRK emerged from bankruptcy March 20, 2017.



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          On or about March 13, 2020, an engineering firm hired by HRK again warned FDEP of
  serious problems with the integrity of the site and its HDPE liner. Glen Anderson, an engineer
  with Wood Environmental & Infrastructure Solutions (“Wood”), explained that the risk of an
  uncontrolled release or breach from the site was elevated due to the deteriorating liner conditions
  above the water line, compromised conditions below the water line, and voids in the dikes that
  hold the water at the NGS-S impoundment. This letter and warning were provided to FDEP in
  direct response to FDEP’s request for an annual inspection of the system. FDEP later claimed
  this report showed the system to “is generally in good condition” despite the dire warnings from
  the engineer.

  VIII. The Liners at Piney Point Continue to Deteriorate and Threaten Human Health and
        the Environment

          On or about March 25, 2021, HRK reported to FDEP increased flow and conductivity
  measurements in the drains that surround the phosphogypsum impoundments. HRK’s report
  indicated that over a 24-hour period, flow in the buried seepage interceptor drains increased over
  30 gpm without any associated rainfall. Additionally, HRK reported that conductivity
  measurements from the drain system had gone up from previous readings of up to 6,800
  umhos/cm to readings of up to 9,960 on March 25.

          FDEP conducted a site visit that same day. Based on the reported readings and the site
  visit on March 25, FDEP concluded that the NGS-S compartment has a leak below the water
  level in the impoundment. HRK thereafter began transferring water from the 10-acre lined
  process water sump (the LPWS) overnight in order to accommodate the increased drains flows
  that are routinely pumped from the NGS-S drains to the LPWS. At that time, FDEP estimated the
  volume of wastewater in the NGS-S compartment to be approximately 480 million gallons.

          On March 26, FDEP determined that the increased flow in the drains shows that leakage
  emanating from the NGS-S lined compartment was being intercepted by the buried silca-gravel
  drain system that surrounds the system to protect against outward migration of seepage that
  would otherwise impact site groundwater. The drain conductivity on March 26 was 10,520
  umhos/cm, and the drain flow had increased to 215 gpm. At this time, discharges from Piney
  Point into Piney Point Creek began.

         On March 27, drain conductivity increased to 11,440 umhos/cm, and the drain flow
  increased to 216 gpm.

          On March 28, drain flow increased to approximately 236 gpm, and conductivity
  increased to 13,480 cmhos/cm. This conductivity was now approaching the elevated conductivity
  of the wastewater in the NGS-S impoundment. FDEP later reported that a “boil,” or an upwelling
  of water, had been observed along the east wall of the NGS-S, and HRK placed an earthen berm
  to provide initial containment within the stormwater ditch, through which contamination was
  seeping.




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          On March 29, FDEP reported that there was continuous pumping from the drains around
  the NGS-S and that the presence of “boils/openings and associated releases” from the drain
  system into the east and north stormwater ditches mean there was an increase in total drain rates.
  At the location of the drain cleanouts at the northwest corner of the phosphogypsum stack
  system, the water was “pressurized” and discharging at a rate of 50-100 gpm. That polluted
  water was discharging directly into Piney Point Creek, meaning that the system had lost
  containment of its impounded pollution. Piney Point Creek discharges directly into Tampa Bay.

          On March 30, FDEP indicated that the “pressurized” discharge point had increased to 100
  gpm and continued to discharge into Piney Point Creek. Along the northern wall of the NGS-N,
  HRK’s engineer reported that pressure on the wall continued to build despite the drilling of relief
  holes. Consequently, FDEP required additional relief holes to be drilled into the impoundment.
  Later, on March 30, FDEP required HRK to begin emergency discharges through the “east
  siphon” of untreated waste from the impoundment.

          On March 31, the east siphon continued to discharge untreated waste. The seepage
  collection system remained pressurized with underground water flow causing heaving of the
  surface water collection ditch and liner system along the east side of the NGS-S and the north
  side of the NGS-N, causing the continued discharge of untreated wastewater into Piney Point
  Creek. The water chemistry of the pollution being discharged showed a conductivity of 19,240
  umhos/cm and a pH of 5.11; the discharge rate continued to be 100 gpm. Of greatest concern
  was the liner along the “eastern stormwater ditch,” which was bulging from the pressure building
  in the seepage collection system. Later, on March 31, three new boils were identified, one on the
  east face and two that were deliberately created in the northeast quadrant to relieve pressure on
  the toe of the impoundment. At this time, the “east siphon” was discharging 11,000 gpm, or
  approximately 14 million gallons per day, into Tampa Bay. The water quality of the water being
  discharged was 15,330 umhos/cm conductivity and a pH of 4.44. By the end of the day, the three
  “boils” were all “bubbling,” and FDEP stated that the water flow appeared to be static.

          On April 1, FDEP required HRK to complete additional relief punctures along the east
  lined stormwater drain to relief pressure from the seepage collection system and the toe of the
  impoundment; the original boil was still active. By the end of the day, FDEP reported that both
  the east and west siphons would be used to discharge wastewater from the site to relieve
  pressure. FDEP also required five more additional punctures to be made to the east face of the
  phosphogypsum stack, while pressured flow was observed flowing along the east storm water
  ditch liner penetrations.

          By April 2, FDEP reported four boils along the Eastern stormwater ditch form the stack.
  Boils number 6, 7, 9 and the original boil were are still bubbling. There were now five boils
  along the North-Eastern corridor. Boils 4 and 5 were actively running. Process wastewater
  continued to discharge into Piney Point Creek at a rate of 40-50 gpm. Concentrated seepage was
  identified at the southern third of the NGS-S impoundment’s eastern wall discharging at a rate of
  200 gpm, and Boils 4, 5, 6, 8, and 9 were actively bubbling. By the end of the day, a voluntary
  evacuation order, that was put in place for properties immediately adjacent to Piney Point,
  became mandatory due to worsening conditions at the site.




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         On April 3, FDEP reported that the seepage outbreak about a third way up the slope
  continued, and the southern portion of the NGS-S dam (where the seepage was occurring) shifted
  by approximately 10 ft horizontally. Consequently, FDEP evacuated the facility and began
  requesting pumps and hoses to continue discharging the impounded wastewater. Due to the
  worsening conditions and threat of catastrophic collapse, the boils could no longer be evaluated.
  The siphons continued to discharge 24-hours/day.

          By April 5, FDEP had taken emergency efforts to address the uncontrolled flooding from
  the northern toe of the NGS-N. Both siphons were discharging 24,000 gallons/minute from the
  NGS-N directly into Port Manatee. These discharges would continue unabated for days,
  releasing over 215 million gallons of untreated wastewater into Tampa Bay.

          On April 12, FDEP reported that the flow coming from the concentrated seepage located
  on the eastern portion of the impoundment had ceased, and the discharge of wastewater into Port
  Manatee was terminated. FDEP believed that the placement of a 10x10 steel plate on the source
  of the leak on April 10 within the NGS-S caused the boils and pressure release areas to cease
  flowing. FDEP stated that the cause of the leak was Seam 271 in the NGS-S, which was
  confirmed by use of ROV. Observations on April 14, however, showed upwelling in the location
  where relief boils were drilled along the east side of the seepage collection system.

          On April 15, FDEP reported that upwelling continued on the east side of the seepage
  collection system, and that flow velocities remained constant from April 13 onward,
  demonstrating that the steel plate was not a permanent solution.

         By April 20, FDEP reported that the upwelling continued on the east side of the seepage
  system, and that flow velocities continued to remain constant.

          The resulting discharges of nutrient-laden wastewater from Piney Point threatens to
  contribute to Harmful Algae Blooms or “HABs,” in and near Tampa Bay. HABs occur when too
  many nutrients exist within a marine environment, causing the rapid growth of algae, such as
  cyanobacterial “blue-green algae blooms” and Karenia brevis blooms, or “Red Tides.” As the
  algae blooms, it depletes the oxygen in the marine environment, threatening other marine
  species. The algae can also release harmful toxins that cause illness in humans and animals.
  According to the Centers for Disease Control and Prevention, cyanotoxin exposure can cause
  conjunctivitis, rhinitis, earache, sore throat, and swollen lips. Respiratory effects can include
  atypical pneumonia and a hay fever-like syndrome. Exposure can also cause electrolyte
  imbalances, headache, malaise, and muscle weakness/ pain in joints and limbs. Similarly, Red
  Tide produces a neurotoxin called brevetoxin, which can cause respiratory irritation, coughing,
  and more serious illness for people with severe or chronic respiratory conditions such as
  emphysema or asthma. It can also cause neurotoxic shellfish poisoning if consumed in oysters
  and clams. In 2017-2019, a major Red Tide event occurred in Southwest Florida. The 5-county
  region of Sarasota Bay and Tampa Bay experienced devastating effects including the killing of
  thousands of fish, injured dolphins and manatees, and resulting in a major economic downturn
  for an economy partially fueled by tourism dollars.




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          The blend of acidic and nutrient-laden pollution discharged from Piney Point makes it
  very likely that HABs will result. Sampling already conducted by FDEP in the areas receiving
  the discharge from the March-April event show algae blooms. And algae was detected in 12
  water samples taken in Tampa Bay from April 8-14 in response to the wastewater discharge,
  according to an FDEP blue-green algae report. Some samples have also contained trace levels of
  cyanotoxins. The image below depicts the estimated dispersal of the pollution from Piney Point
  as of May 12, 2021




         This concern is especially acute because the 2021 discharge event contained significant
  amounts of nutrients. The introduction of approximately 100,000 bags of fertilizer into Tampa
  Bay will lead to seagrass losses as algae blooms cloud the water column, starving seagrass




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  meadows of the sunlight necessary for photosynthesis. Such seagrasses are the main indicator of
  a healthy marine ecosystem and provide habitat and food for many marine organisms.

                                 RCRA LEGAL BACKGROUND

          Enacted in 1976, RCRA is intended to “eliminate[] the last remaining loophole in
  environmental law, that of unregulated land disposal of discharged materials and hazardous
  wastes.” Ecological Rights Found. v. Pac. Gas & Elec. Co., 874 F.3d 1083, 1089 (9th Cir. 2017)
  (quoting H.R. Rep. No. 94-1491, at 4 (1976)) (alterations in original). Like other environmental
  statutes, RCRA contains a citizen suit provision authorizing private citizens to enforce the law,
  including:

         against any person, including the United States and any other governmental
         instrumentality or agency, to the extent permitted by the eleventh amendment to
         the Constitution, and including any past or present generator, past or present
         transporter, or past or present owner or operator of a treatment, storage, or
         disposal facility, who has contributed or who is contributing to the past or present
         handling, storage, treatment, transportation, or disposal of any solid or hazardous
         waste which may present an imminent and substantial endangerment to health or
         the environment[.]

  42 U.S.C. § 6972(a)(1)(B). In light of “RCRA’s broad language and remedial purpose,” courts
  have given this “endangerment provision” an expansive construction. Fresh Air for the Eastside,
  Inc. v. Waste Mgmt. of N.Y., LLC, 405 F. Supp. 3d 408, 439 (W.D.N.Y. 2019); see also
  Simsbury-Avon Pres. Club, Inc. v. Metacon Gun Club, Inc., 575 F.3d 199, 210 (2d Cir. 2009);
  Davis v. Sun Oil Co., 148 F.3d 606, 609 (6th Cir. 1998). Therefore, “if an error is to be made in
  applying the endangerment standard, the error must be made in favor of protecting public health,
  welfare and the environment.” Interfaith Cmty. Org. v. Honeywell Int’l, Inc., 399 F.3d 248, 259
  (3d Cir. 2005) (emphasis added) (citation omitted).

          Under RCRA’s citizen suit provision, a notifying party must typically wait 90 days after
  providing pre-suit notice before filing a complaint alleging an imminent and substantial
  endangerment to health and the environment. 42 U.S.C. § 6972(b)(2)(A). However, “such action
  may be brought immediately after such notification in the case of an action under this section
  respecting a violation of subchapter III of this chapter.” Id.

          Additionally, RCRA prohibits “open dumping.” 42 U.S.C. § 6945(a) prohibits the
  operation of “any solid waste management practice or disposal of solid waste which constitutes
  the open dumping of solid waste.” “Disposal” means “the discharge, deposit, injection, dumping,
  spilling, leaking, or placing of any solid waste . . . into or on any land or water[.]” 42 U.S.C. §
  6903(3). Enforcement of this prohibition is available through RCRA’s citizen suit provision. 42
  U.S.C. § 6972(a)(1)(A). As required by statute, EPA has promulgated criteria under RCRA §
  6907(a)(3) defining solid waste management practices that constitute open dumping. See 42
  U.S.C. § 6944(a); 40 C.F.R. Parts 257 and 258. These regulations prohibit the contamination of
  any underground drinking water source beyond the solid waste boundary of a disposal site. 40
  C.F.R. § 257.3-4(a).



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         The definition of “underground drinking water source” includes an aquifer supplying
  drinking water for human consumption or any aquifer in which the groundwater contains less
  than 10,000 mg/l total dissolved solids. 40 C.F.R. § 257.3-4(c)(4). “Contaminate” means to
  introduce a substance that would cause: (i) the concentration of that substance in the groundwater
  to exceed the maximum contaminant level specified in Appendix I, or (ii) an increase in the
  concentration of that substance in the groundwater where the existing concentration of that
  substance exceeds the MCLs specified in Appendix I. 40 C.F.R. § 257.3-4(c)(2).

  I.     FDEP, HRK, and Port Manatee Are Liable for Contributing to an Imminent and
         Substantial Endangerment to Health and the Environment

          FDEP, HRK, and Port Manatee have violated and remain in violation of RCRA by
  contributing to an imminent and substantial endangerment to health or the environment at the
  Piney Point site. Specifically, Notifying Parties will allege that FDEP and HRK are both a
  “person” that is a “past or present owner or operator of a treatment, storage, or disposal facility,”
  namely Piney Point. 42 U.S.C. § 6972(a)(1)(B). RCRA defines “person” as including a “State”
  and a “political subdivision of a State[.]” 42 U.S.C. § 6903(15). FDEP, through its Director,
  qualifies as both a “State” and a “political subdivision of a State,” and is therefore subject to a
  RCRA citizen suit brought pursuant to 42 U.S.C. § 6972(a)(1)(B). Furthermore, federal law
  authorizes suit against state officials that violate federal law, notwithstanding the eleventh
  amendment. See, e.g., Ex Parte Young, 209 U.S. 123 (1908).

          Notifying Parties will allege that HRK is a past and present owner of a treatment, storage,
  and disposal facility, and will further allege that FDEP, by and through its Director, is also a past
  and present owner and operator of a treatment, storage, or disposal facility. RCRA defines
  “disposal” as used within 42 U.S.C. § 6972(a)(1)(B) as “the discharge, deposit, injection,
  dumping, spilling, leaking, or placing of any solid waste or hazardous waste into or on any land
  or water so that such solid waste or hazardous waste or any constituent thereof may enter the
  environment or be emitted into the air or discharged into any waters, including ground waters.”
  42 U.S.C. § 6903(3). Specifically, Notifying Parties will allege that FDEP, through its Director,
  was the past owner of the Piney Point site between 2001 and 2006. During that time, FDEP and
  its agents investigated the site and made decisions on its “closure plan,” despite possessing prior
  knowledge that aspects of the closure plan were destined for failure, such as the utilization of
  single HDPE liners. HRK is also a past and present owner of the site.

          Notifying Parties will further allege that FDEP, by and through its Director, is a past and
  present operator of Piney Point. FDEP’s status as an operator from 2001-2004 is self-evident, as
  no other entity besides FDEP had control and ownership of Piney Point. After 2004, FDEP’s
  status as an operator is evidenced by, inter alia: (1) the original and Amended Agreement
  between FDEP and HRK, wherein FDEP was expressly allowed to continue its work on its
  flawed closure plans for Piney Point; (2) the fact that the original Agreement between FDEP and
  HRK stated that “HRK was not an owner or operator of the Phosphogypsum Stack System or
  any other part or component at or on the Site, nor was HRK a generator of any Solid Waste or
  Hazardous Substances at or on the Site[;]” (3) FDEP maintained direct control, oversight, and
  had prior approval over all expenditures of the money HRK deposited into an account for certain



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  activities related to Piney Point, as well as prior approval of any of HRK’s plans at the site; (4)
  FDEP’s permitting approvals for the Port Manatee expansion project, express representations 2
  made in the Amended Agreement with HRK, and representations to the Corps that the site was
  suitable for storage of dredged materials from the expansion project; (5) FDEP’s control of
  actions by HRK and others concerning the liner leak, impoundment breach, and massive
  discharge event in 2011; and (6) FDEP’s control of actions by HRK and others concerning the
  liner leak and massive discharge event in 2021.

          Notifying Parties will further allege in the lawsuit that HRK and FDEP, by and through
  its Director, “has contributed and…is contributing to the past or present handling, storage,
  treatment, transportation, or disposal” of solid and hazardous waste. 42 U.S.C. § 6972(a)(1)(B).
  The term “contribution” is a term of art encompassing a measure of control, and has been
  construed to mean “lend assistance or aid to a common purpose,” “have a share in any act or
  effect,” “be an important factor in,” or “help to cause.” Here, Notifying Parties will demonstrate
  that FDEP contributed and continues to contribute to the past and present handling, storage,
  treatment, and disposal of solid and hazardous waste. In particular, FDEP shares in a measure of
  control over the handling, storage, treatment, transportation, and disposal of the waste at Piney
  Point as evidenced by, inter alia: (1) the original and Amended Agreement between FDEP and
  HRK, wherein FDEP was expressly allowed to continue its work on its flawed closure plans for
  Piney Point; (2) the fact that the original Agreement between FDEP and HRK stated that “HRK
  was not an owner or operator of the Phosphogypsum Stack System or any other part or
  component at or on the Site, nor was HRK a generator of any Solid Waste or Hazardous
  Substances at or on the Site[;]” (3) FDEP maintained direct control, oversight, and had prior
  approval over all expenditures of the money HRK deposited into an account for certain activities
  related to Piney Point, as well as prior approval of any of HRK’s plans at the site; (4) FDEP’s
  permitting approvals for the Port Manatee expansion project, express representations made in the
  Amended Agreement with HRK, and representations to the Corps that the site was suitable for
  storage of dredged materials from the expansion project; (5) FDEP’s control of actions by HRK
  and others concerning the liner leak, impoundment breach, and massive discharge event in 2011;
  (6) FDEP’s control of actions by HRK and others concerning the liner leak and massive
  discharge event in 2021; and (7) FDEP agreed to limit HRK’s mortgage payments and delayed
  the maturity on the mortgage note numerous times.

         Finally, Notifying Parties will allege that the MCPA “has contributed and…is
  contributing to the past or present handling, storage, treatment, transportation, or disposal” of
  solid waste and hazardous waste. 42 U.S.C. § 6972(a)(1)(B). In particular, Port Manatee was a


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    See, e.g., Amended Agreement WHEREAS clauses (unnumbered) (“WHEREAS, the storage of dredged materials
  to be generated by MCPA in a fashion consistent with the Operation and Management Plan to be developed and
  approved under Paragraph 9 below will be compatible with the design and purpose of the lined reservoirs
  constructed by the Department and others as part of the Closure of Phosphogypsum Stacks at the Site and will be of
  benefit to the Department”) & Para. 4 (“the Department hereby agrees to modify the Closure plan by eliminating the
  planned future placement of soil cover on the interior lined slopes and bottom areas of the Piney Point
  Phosphogypsum Stack System reservoir compartments as referenced in paragraph 3 of this Amendment and by
  revising reservoir drainage and outlet structure designs for such Phosphogypsum Stack System compartments, as
  part of the work to be performed by the Department under Section III of the Agreement.”).



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  generator of solid waste, in that it created through its dredging process significant volumes of
  dredged material from the Berth 12 expansion that were ultimately deposited by the MCPA at
  Piney Point. Through that process, the MCPA both handled and transported the solid waste that
  is now at issue. The MCPA completed the Berth 12 dredging process despite possessing prior
  knowledge that there were significant environmental and human health risks threatened by using
  Piney Point to store the dredged material.

          Notifying Parties will further allege in the lawsuit that the process wastewater,
  phosphogypsum stacks, dredged material from the Port Manatee expansion project, and
  precipitation that intermixes with these materials constitute “solid waste” under RCRA. “Solid
  waste” is defined as:

         any garbage, refuse, sludge from a waste treatment plant, water supply treatment
         plant, or air pollution control facility and other discarded material, including solid,
         liquid, semisolid, or contained gaseous material resulting from industrial,
         commercial, mining, and agricultural operations, and from community activities,
         but does not include solid or dissolved material in domestic sewage, or solid or
         dissolved materials in irrigation return flows or industrial discharges which are
         point sources subject to permits under section 1342 of title 33, or source, special
         nuclear, or byproduct material as defined by the Atomic Energy Act of 1954, as
         amended (68 Stat. 923) [42 U.S.C. 2011 et seq.]

          The phosphogypsum stacks at Piney Point are a “discarded material…resulting from
  industrial, commercial, [and] mining” operations. The process wastewater stored at Piney Point
  is a “discarded material…resulting from industrial, commercial, [and] mining” operations. The
  dredged materials from the Port Manatee expansion, when deposited at Piney Point, is also a
  “discarded material.” When detained at Piney Point, these discarded solid wastes are not
  “industrial discharges which are point sources subject to permits under section 1342 of title 33.”
  See also 40 C.F.R. § 261.4(a)(2) (Comment: This exclusion applies only to the actual point
  source discharge. It does not exclude industrial wastewaters while they are being collected,
  stored or treated before discharge, nor does it exclude sludges that are generated by industrial
  wastewater treatment.). Upon information and belief, none of these materials are subject to the
  Atomic Energy Act of 1954.

          Notifying Parties will further allege that the comingling of all these wastes render them
  “hazardous waste” as that term is used in RCRA, and therefore subject to the immediate suit
  provision of 42 U.S.C. § 6972(b)(2)(A). By themselves, phosphogypsum stacks and associated
  process wastewater are exempt from regulation under RCRA as hazardous wastes by operation
  of the “Bevill Amendment,” but not from regulation as solid wastes. See, e.g., 40 C.F.R. §
  261.4(b)(7) (preceding title: “Solid wastes which are not hazardous wastes.”) & §
  261.4(b)(7)(ii)(D). However, as FDEP was warned by the Corps over a decade ago, the use of
  Piney Point for the storage of dredged materials will likely cause those materials to intermix with
  the process wastewater and phosphogypsum stacks. In particular, the Corps warned that:

         Water from rain and the placement of dredged slurry could percolate into the
         phosphogypsum stack releasing leachate that could be corrosive and toxic. If



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         leachate meets the characteristics according to 40 CFR 261.22 and 40 CFR
         261.24, then the leachate would be designated as hazardous waste. Then the
         mixture of a solid waste, with hazardous waste is considered a hazardous waste.
         The addition of dredged material to a hazardous waste will increase the
         probability of contaminating the surrounding surface and groundwater.

          The Corps’ fear has become reality. FDEP knew, or should have known through the
  exercise of reasonable care and due diligence, that single HDPE liners were not appropriate to be
  used at Piney Point. FDEP’s contractors informed FDEP that similar liners and similar facilities
  had failed prior to FDEP’s approval of storing the dredged materials at Piney Point. FDEP was
  aware as early as 2001 that the phosphogypsum stacks provide an inadequate foundation, due to
  its movement and settling, and the multiple cracks discovered. Upon information and belief, the
  liner breach in 2011 that necessitated discharging millions of gallons of contaminated water
  caused dredged material to leach through the liner and mix with the existing solid waste, creating
  a new waste material that satisfies the regulatory requirements for categorization as hazardous
  waste. Upon information and belief, the liner breach in 2021 that necessitated discharging
  millions of gallons of contaminated water further caused dredged material to leach through the
  liner and mix with the existing solid waste, creating a new waste material that satisfies the
  regulatory requirements for categorization as hazardous waste. Upon information and belief, the
  HDPE liners at Piney Point have been leaking since at least 2011, if not earlier.

          Finally, Notifying Parties will allege in the lawsuit that FDEP, HRK, and MCPA’s
  contributions to the past and present handling, storage, treatment, transportation, and disposal of
  solid and/or hazardous waste “may present an imminent and substantial endangerment to health
  or the environment.” 42 U.S.C. § 6972(a)(1)(B). Courts have “emphasized the preeminence of
  the word ‘may’ in defining the degree of risk needed” to maintain an endangerment claim. Me.
  People’s All. v. Mallinckrodt, Inc., 471 F.3d 277, 288 (1st Cir. 2006). The word “may,”
  combined with the word “endangerment,” contemplates only “a threatened or potential harm, and
  does not require proof of actual harm.” Parker v. Scrap Metal Processors, Inc., 386 F.3d 993,
  1015 (11th Cir. 2004); see also Mallinckrodt, 471 F.3d at 296. The words “imminent” and
  “substantial” have similarly broad meanings. “Imminence generally has been read to require only
  that the harm is of a kind that poses a near-term threat; there is no corollary requirement that the
  harm necessarily will occur or that the actual damage will manifest itself immediately.”
  Mallinckrodt, 471 F.3d at 288 (citing Cox v. City of Dallas, 256 F.3d 281, 299-300 (5th Cir.
  2001)). Finally, an endangerment is “substantial” when “there is reasonable cause for concern
  that someone or something may be exposed to risk of harm” absent remedial action. Burlington
  N. & Santa Fe Ry. Co. v. Grant, 505 F.3d 1013, 1021 (10th Cir. 2007). Where all elements are
  present, courts have “broad authority. . . to grant all relief necessary to ensure complete
  protection of the public health and the environment.” Little Hocking Water Ass’n, Inc. v. E.I. du
  Pont Nemours & Co., 91 F. Supp. 3d 940, 952 (S.D. Ohio 2015) (internal quotations and citation
  omitted); see also Meghrig v. KFC W., Inc., 516 U.S. 479, 479 (1996).

         In connection with the most recent liner breach, FDEP publicly acknowledged that the
  Piney Point storage facilities present an imminent and substantial endangerment to health and the
  environment:




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         The conditions being reported as of March 29, 2021, appear to indicate an
         imminent threat of a potential loss of containment and a catastrophic release of
         from portions of the stack systems and its impoundments… Failure of the NGS-S
         lined compartment, containing ~ 480 MGal of a mixture of seawater and process
         water, along with phosphogypsum embankment materials would likely result in
         flooding. Flooding may occur, either to the south across Buckeye Road, and
         would require evacuation of residential areas further south of Buckeye Road, or if
         a failure were to occur along the eastern wall of the NGS-S, it would likely impact
         property east of the site including a Williams Gas Company natural gas
         compressor station. An uncontrolled failure and release impacting the integrity of
         the NGS-S compartment would release the nutrients into freshwater systems
         leading from the Site prior to the drainage entering Bishop Harbor, an OFW that
         south and east of the Piney Point Site… The ongoing leak at the Site and the
         resulting pressures that are impacting the drains surrounding the Site’s
         phosphogypsum stack system could also threaten the integrity of the Stack
         System along the northern wall at the toe of the NGS-N lined pond that contains
         an additional 240 MGal of process water. While the conductivity of that water is
         less than the conductivity of the leaking NGS-S compartment, the water quality in
         the NGS-N is generally closer to aged process water in its other water quality
         parameters and presents potentially a greater acute water quality impact to Bishop
         Harbor and Tampa Bay, if discharged in an uncontrolled fashion due to failure of
         the Site’s stack system.

  Notifying Parties will allege in the lawsuit that a catastrophic failure of stack system at Piney
  Point may present an imminent and substantial endangerment. Such failure would cause the
  uncontrolled release of toxic and radioactive pollution, along with significant devastation to
  public and private property caused by millions of gallons of wastewater being suddenly released
  from the site.

         Notifying Parties will further allege that Piney Point may also present an imminent and
  substantial endangerment due to, inter alia:

         1. FDEP’s decision(s) in its closure plan to use single HDPE liners at Piney Point, when
            FDEP knew or should have known through the exercise of reasonable care and due
            diligence that such liners had failed at other similar phosphogypsum stacks being
            monitored by FDEP’s own contractor, Ardaman;
         2. FDEP’s decision(s) in its closure plan to use single HDPE liners at Piney Point, when
            FDEP knew or should have known through the exercise of reasonable care and due
            diligence that the phosphogypsum stack is not an engineered structure, meaning that
            it was an inadequate and dangerous foundational material upon which HDPE liners
            could be placed;
         3. FDEP’s decision(s) in its closure plan to use single HDPE liners at Piney Point, when
            FDEP knew or should have known through the exercise of reasonable care and due
            diligence that the existing erosional features, vertical cracks, existence of whirlpools,
            and other information identified in its 2001 Geotechnical Study meant the site was




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              compromised and could not be returned to beneficial use even if HDPE liners were
              installed;
         4.   FDEP’s and MCPA’s decision(s), permitting, regulatory approval, and
              representations that the Piney Point site’s impoundments, including the NGS-N and
              NGS-S, were appropriately designed and engineered to store dredged material from
              the Port Manatee expansion project, especially in light of the Corps’ stated concerns;
         5.   Liner breaches occurring in 2011 and 2021 caused precipitation, dredged materials,
              and process wastewater to comingle and intermix with phosphogypsum stack
              material, creating a toxic leachate that satisfies the regulatory requirements for
              classification as a hazardous waste;
         6.   FDEP’s decision(s) to continue to approve the use of Piney Point for the storage of
              dredged materials when FDEP knew, or should have known through the exercise of
              reasonable care and due diligence, that the site presented unacceptable risks of
              failure; and
         7.   FDEP and HRK’s knowledge that the monitoring wells at Piney Point have shown
              consistent violations of the regulatory groundwater quality standards and demonstrate
              that dangerous levels of pollution have migrated into the underlying aquifer, putting
              the environment and human health at grave risk.

          Notifying Parties will also allege that Piney Point presents an imminent and substantial
  endangerment by releasing, leaking, leaching, or otherwise causing solid and hazardous waste to
  enter groundwaters, where it is then transported off-site into nearby groundwaters and the
  underlying aquifer. FDEP requires routine groundwater sampling from wells located around the
  perimeter of the Piney Point site. The past and present groundwater sampling results from the
  monitoring wells indicates significant levels of pollution – in excess of regulatory groundwater
  quality standards – are being released from Piney Point into the underlying aquifer, where it
  impacts both the environment and human health, for there are hundreds of homes in the
  surrounding area that make use of the underlying aquifer for domestic water use.

          Finally, Notifying Parties will allege that FDEP’s transportation and disposal of solid
  waste through discharging millions of gallons of untreated wastewater presents an imminent and
  substantial endangerment by threatening to cause widespread algae blooms and red tide. The
  nutrient-laden water discharged on FDEP’s authority into Tampa Bay and elsewhere creates an
  environment in which harmful algae will thrive. The harmful toxins produced as a result of this
  algae bloom threatens severe human health consequences, as well as harm to the environment, as
  evidenced by the large quantity of marine wildlife that is killed during red tide events – wildlife
  such as fish, manatees, and dolphins. See 40 C.F.R. § 257.1 (defining “which solid waste
  disposal facilities and practices pose a reasonable probability of adverse effects on health or the
  environment”); 40 C.F.R. § 257.3-2 (prohibiting solid waste disposal practices which cause or
  contribute to a taking of a threatened or endangered species or resulting in destruction or adverse
  modification of critical habitat). The loss of seagrass further exacerbates this issue, depriving the
  ecosystem of needed habitat and food.

          42 U.S.C. § 6972(a) states that the District Courts of the United States shall have
  jurisdiction to order any person who “has contributed or who is contributing to the past or
  present handling, storage, treatment, transportation, or disposal of any solid or hazardous waste”



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  that presents an imminent and substantial endangerment to health or the environment to take
  such action as may be necessary to cease and correct the pollution. Notifying Parties intend to
  seek legal and equitable relief in their lawsuit, including but not limited to temporary and/or
  permanent injunctive relief, as well as attorneys’ and expert witnesses’ fees, and costs, associated
  with the suit.

          Notifying Parties will also seek to impose remedial injunctive relief that fully abates the
  imminent and substantial endangerment posed by Piney Point to human health and the
  environment. Upon information and belief, FDEP was previously informed that reverse-osmosis
  treatment would effectively treat all wastewater impounded at the site. Notifying Parties will
  seek an order requiring FDEP to institute this technology at the site, as FDEP’s prior “closure
  plan” has been demonstrably inadequate, resulting in liner breaches and massive discharges of
  untreated wastewater.

  II.    FDEP and HRK Are Liable for Violating RCRA’s “Open Dumping” Prohibition

           As described above, 42 U.S.C. § 6945(a) prohibits the operation of “any solid waste
  management practice or disposal of solid waste which constitutes the open dumping of solid
  waste.” “Disposal” means “the discharge, deposit, injection, dumping, spilling, leaking, or
  placing of any solid waste . . . into or on any land or water[.]” 42 U.S.C. § 6903(3). Enforcement
  of this prohibition is available through RCRA’s citizen suit provision. 42 U.S.C. § 6972(a)(1)(A)
  As required by statute, EPA has promulgated criteria under RCRA § 6907(a)(3) defining solid
  waste management practices that constitute open dumping. See 42 U.S.C. § 6944(a); 40 C.F.R.
  Parts 257 and 258. These regulations prohibit the contamination of any underground drinking
  water source beyond the solid waste boundary of a disposal site. 40 C.F.R. § 257.3-4(a). The
  regulations prohibit the discharge of pollutants into waters of the United States in violation of
  CWA Sections 402 or 404. 40 C.F.R. § 257.3-3. Finally, the regulations prohibit facilities or
  practices from causing or contributing to the “taking of any endangered or threatened species of
  plants, fish, or wildlife,” and “shall not result in the destruction or adverse modification of the
  critical habitat of endangered or threatened species.” 40 C.F.R. § 257.3-2.

         The definition of “underground drinking water source” includes an aquifer supplying
  drinking water for human consumption or any aquifer in which the groundwater contains less
  than 10,000 mg/l total dissolved solids. 40 C.F.R. § 257.3-4(c)(4). “Contaminate” means to
  introduce a substance that would cause: (i) the concentration of that substance in the groundwater
  to exceed the maximum contaminant level specified in Appendix I, or (ii) an increase in the
  concentration of that substance in the groundwater where the existing concentration of that
  substance exceeds the MCLs specified in Appendix I. 40 C.F.R. § 257.3-4(c)(2).

          Notifying Parties will allege that FDEP and HRK knew, or should know through the
  exercise of reasonable care and due diligence, that routine groundwater monitoring data from the
  monitoring wells surrounding Piney Point show dangerous levels of pollution have released,
  leaked, or otherwise escaped from the phosphogypsum stacks and into the surrounding
  groundwater. A tabulation of groundwater data obtained from FDEP is attached hereto as Exhibit
  1. That data shows that leakage from Piney Point’s impoundments have violated both the
  maximum pollution limitations contained within the Administrative Agreement between FDEP



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  and HRK, and exceeded the groundwater quality standards identified in 40 C.F.R. Part 257
  Appendix I (Maximum Contaminant Levels).

          As this pollution enters the underlying groundwater, it migrates away and off the Piney
  Point disposal site. Upon information and belief, the predominant groundwater flow at Piney
  Point is from the southeast and toward the northwest, generally flowing to Bishop Harbor and
  Tampa Bay. Historical data from Piney Point evidenced a contamination plume in the surficial
  aquifer that extends beyond the property line of the property downgradient from the
  phosphogypsum stacks along an approximately 3,600-foot section of alignment at the
  northeastern corner of the facility. This contamination plume was found to have elevated sodium,
  sulfate, nutrient, TDS, and radionuclide concentrations.

          Pursuant to 40 C.F.R. § 257.3-4, Notifying Parties will allege in the lawsuit that the
  leakage, seepage, and releases from the Piney Point impoundments have caused dangerous levels
  of pollution to enter the underlying aquifer, where it has and will continue to move off-site and
  “contaminate” underground drinking water sources in violation of RCRA’s open dumping
  prohibition.

          Pursuant to 40 C.F.R. § 257.3-3, Notifying Parties will allege in the lawsuit that FDEP
  and HRK’s decision to discharge millions of gallons of pollution into nearby surface waters
  violates RCRA, because these discharges were not authorized pursuant to a valid and properly
  promulgated National Pollution Discharge Elimination System Permit. Had FDEP and HRK
  implemented proper hazardous waste storage requirements at Piney Point, these discharges
  would not have been required, for the Site would be properly designed and engineered under
  RCRA Subtitle C to make the discharge of solid and hazardous waste unnecessary. This action
  constitutes prohibited open dumping in violation of RCRA.

           Pursuant to 40 C.F.R. § 257.3-2, Notifying Parties will allege in the lawsuit that FDEP
  and HRK’s discharge of millions of gallons of pollution into nearby surface waters violates
  RCRA, because these discharges cause and/or contribute to the taking of endangered and/or
  threatened species of plants, fish, or wildlife, including but not limited to sea turtles and Florida
  manatees, and that these discharges resulted in the destruction and/or adverse modification of the
  critical habitat of endangered or threatened species. This action constitutes prohibited open
  dumping in violation of RCRA.

          42 U.S.C. § 6972(a) states that the District Courts of the United States shall have
  jurisdiction to order any person who “has contributed or who is contributing to the past or
  present handling, storage, treatment, transportation, or disposal of any solid or hazardous waste”
  that presents an imminent and substantial endangerment to health or the environment to take
  such action as may be necessary to cease and correct the pollution. Notifying Parties intend to
  seek legal and equitable relief in their lawsuit, including but not limited to temporary and/or
  permanent injunctive relief, as well as attorneys’ and expert witnesses’ fees, and costs, associated
  with the suit.




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                                  CWA LEGAL BACKGROUND

          Congress enacted the CWA in 1972 in order to “restore and maintain the chemical,
  physical, and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251. The CWA prohibits
  “the discharge of any pollutant by any person” from a point source into navigable waters unless
  allowed by permit. 33 U.S.C. § 1311(a). The Act defines “point source” as “any discernible,
  confined and discrete conveyance, including but not limited to any pipe, ditch, channel, tunnel,
  conduit, well, discrete fissure, container, rolling stock, concentrated animal feeding operation …
  from which pollutants are conveyed.” 33 U.S.C. § 1362(14). “Pollutant” is defined to include
  any “industrial, municipal, and agricultural wastes” discharged into water. 33 U.S.C. § 1362(6).
  CWA jurisdiction extends to “navigable waters,” a phrase defined as “the waters of the United
  States,” id. § 1362(7).

         The CWA is administered through the National Pollutant Discharge Elimination System
  (NPDES) permit program. 33 U.S.C. § 1342. The Environmental Protection Agency (“EPA”)
  may delegate this permitting system to the states. See id. § 1342(b); 40 C.F.R. § 123.61. In 1995,
  EPA delegated the permitting program to Florida. Florida Statutes §403.0885. FDEP NPDES
  permits are issued for a period of five years. See 33 U.S.C. § 1342(b)(1)(B).

          Ongoing violations of the CWA and NPDES permits are enforceable through the CWA’s
  citizen suit provision. 33 U.S.C. § 1365(a); id. § 1365(f) (defining “effluent standard or
  limitation” to include an unpermitted discharge in violation of 33 U.S.C. § 1311(a)). This
  provision requires citizens to send a notice letter to the owners/operators of a violating facility,
  EPA and the Chief Administrative Office of the state water pollution control agency before
  bringing suit. Id. § 1365(b); see also 40 C.F.R. § 135.2. A citizen suit may proceed sixty days
  after the notice letter, unless either EPA or the relevant state has commenced and is diligently
  prosecuting a civil action in federal or state court. 33 U.S.C. § 1365(b)(1)(B).

  I.     FDEP and/or HRK Discharged Pollutants Into Navigable Waters Without A Lawful
         NPDES Permit

          As required by the CWA, this notice letter provides notice of the violations that have
  occurred and continue to occur at Piney Point. At the outset, there is no current, lawful NPDES
  permit for any discharges from the Piney Point site. On October 9, 1999, FDEP issued
  Wastewater Permit No. FL0000124-001 to Piney Point Phosphates, Inc. for “the operation of a
  phosphate fertilizer manufacturing facility including a phosphogypsum stack system and the
  discharge of treated wastewater through two outfalls, 002 and 003. Outfall 002 discharges into
  Piney Point Creek, which empties into Tampa Bay. Outfall 003 discharges into Buckeye Road
  ditch, which flows into Bishops Harbor and then to Tampa Bay.” FDEP File No. FL0000124-
  003-AA, p. 1. That permit had an expiration date of March 25, 2001. Piney Point Phosphates,
  Inc. submitted an application for a renewal of that permit on September 22, 2000. On December
  4, FDEP denied the permit’s renewal. Piney Point Phosphates, Inc. subsequently filed for two
  extensions for its deadline to file an administrative appeal from FDEP’s decision. Piney Point
  Phosphates, Inc. declared bankruptcy on February 8, 2001.




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           By its terms, FL0000124-001 expired on March 25, 2001. There has been no new
  NPDES permit issued in connection with Piney Point since that date. Under FDEP rules, no
  permit “shall be issued for a term of more than five (5) years unless specified by statute, rule, or
  order of the Department.” Florida Rule 62-4.00(4); Florida Rule 62-620.320(8); Florida Statute
  §403.0885(3) (application for NPDES permit must be granted or denied “in compliance with 40
  C.F.R. part 124, subpart A”). At no point has FDEP administratively extended FL0000124-001.
  Most importantly, FDEP denied Piney Point Phosphate’s renewal application. Pursuant to
  Florida Rule 62-4.090, “Renewals,” if a renewal application is timely, the permit shall remain in
  effect until it has been acted upon by FDEP. See also Florida Statute §403.0885(3) (“upon timely
  application for renewal, a permit issued under this section shall not expire until the application
  has been finally acted upon or until the last day for seeking judicial review of the agency order or
  a later date fixed by order of the reviewing court.”). Here, FDEP did act upon the permit – it
  denied its renewal – and at no point did Piney Point Phosphates, Inc. timely challenge that denial
  in an administrative appeal. See also Florida Rule 62-620.335(3). Because the NPDES Permit
  expired over 20 years ago, all discharges from the Piney Point facility to waters of the United
  States thereafter were unpermitted.

          Four years later, CDM Constructors entered into a contract with FDEP concerning
  closure of the phosphogypsum stacks. On March 30, 2005, FDEP entered into an
  “Administrative Agreement” with CDM, and as part of that agreement, FDEP purportedly
  “transferred” the now-expired FL0000124-001 to CDM. FDEP made clear that the NPDES
  Permit was separate and distinct from the Administrative Agreement with CDM, which “was to
  remain in effect until [FDEP] took final agency action on the issuance of the NPDES permit.”
  FDEP File No. FL0000124-002-AA, p. 2. This “transfer” also violated Florida Rules for the
  transfer of permits. Florida Rule 62-4.120 (requiring permit transfer applications to be made
  within 30 days “after the sale or legal transfer of a permitted facility”); Florida Rule 62-
  620.340(2)(a) (same); 40 C.F.R. § 122.61. Here, there was never a timely or lawful transfer of
  the NPDES permit from Piney Point Phosphates, Inc. to FDEP. Nor could there be, given that
  FDEP denied the permit renewal application. In sum, FDEP purported to transfer a NPDES
  permit that was long-since expired and had no legal force or effect. 3

          Then, on September 8, 2009 – more than eight years after FDEP denied reissuance of the
  NPDES permit – FDEP purportedly transferred the still-expired NPDES permit from CDM to
  HRK. FDEP File No. FL0000124-003-AA. This transfer of an expired permit was unlawful for
  the same reasons described above with respect to the CDM transfer. According to public records,
  on September 28, 2009, HRK submitted a permit renewal application. Thereafter FDEP made
  four Requests for Additional Information and ultimately deemed the permit renewal application
  to be complete on July 9, 2010, with an expected final issuance date of November 18, 2010.
  Importantly, FDEP took no further action on HRK’s NPDES permit application. And at no point
  was the public notified about this transfer and later renewal application, thwarting the CWA’s
  goal of encouraging public participation in permitting discharges to navigable waters.




  3Indeed, the Administrative Agreement with CDM was amended in July 2006 by mutual consent
  of the parties. Lawfully promulgated NPDES Permits may not be amended in such a fashion.


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         Instead, on January 28, 2011, FDEP entered into an Administrative Agreement with HRK
  FL0000124-003-AA, similar to the Administrative Agreement it previously had with CDM
  (FL0000124-002-AA). As with the CDM Administrative Agreement, FDEP identified the
  NPDES permit as separate and distinct from the Administrative Agreement, which permit “will
  continue in-force until [FDEP] takes Final Agency Action on re-issuance of the NPDES
  Wastewater Permit No. FL0000124.” This Agreement, like the prior Agreement with CDM,
  ignored that FDEP already had taken final agency action on the permit – it denied its renewal ten
  years prior.

          Upon information and belief, FL0000124-003-AA has remained in effect between FDEP
  and HRK for approximately a decade, without amendments. While the CDM and HRK
  Administrative Agreements appear to contain provisions that mimic an NPDES permit, by their
  own terms the Administrative Agreements are not NPDES Permits.4 Indeed, at no point since
  FDEP denied the permit reissuance application 20 years ago has FDEP reevaluated any
  provisions of the Administrative Agreements for compliance with the CWA’s technology-
  forcing requirements or water-quality based effluent limitations, nor has it required any new best
  management practices. See 40 C.F.R. § 122.43(b)(2) (“New or reissued permits, and to the extent
  allowed under § 122.62 modified or revoked and reissued permits, shall incorporate each of the
  applicable requirements referenced in §§ 122.44 and 122.45.”); 40 C.F.R. § 122.44 (establishing
  limitations and standards for permit conditions); 40 C.F.R. § 123.25(a) (authorizing states to
  impose more stringent requirements on NPDES permits, but not lesser than the requirements
  created by EPA in the Code of Federal Regulations); id. § 123.25(a)(15)-(16) (requiring NPDES
  permits to include conditions for technology-based effluent limitations and/or water-quality
  based effluent limitations). FDEP also has never followed the required process for NPDES
  permit issuance set forth in the November 30, 2007 Memorandum of Understanding between
  EPA and FDEP, and the HRK Administrative Agreement has existed for a decade, well beyond
  the five-year period required under NPDES regulations and Florida Statute §403.0885.

         Finally, the “Administrative Agreements” specifically authorized amendments to the
  terms of the Agreement upon “mutual consent of the parties.” Such a provision further
  demonstrates that the Administrative Agreements are not lawfully promulgated NPDES permits,
  which require that “the terms, conditions, requirements, limitations and restrictions set forth” in a
  NPDES permit “are binding and enforceable[.]” Florida Rule 62-4.160; see also Florida Statute §
  403.088(c) (specifying permit terms, nowhere allowing modification of terms when regulator
  and regulated party agree); Florida Rule 62-620.610(1) (terms are “binding and enforceable”).
  The record is quite clear that the HRK Administrative Agreements with CDM and HRK
  (FL0000124-002-AA and FL0000124-003-AA) are not lawful NPDES permits. NPDES Permit
  FL0000124 expired on March 25, 2001.

         In sum, Notifying Parties will allege that there is no current, lawful NPDES permit
  authorizing discharges from Piney Point, either by HRK or by FDEP. As such, FDEP’s

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   Florida Statute §403.0885 makes clear that “the state NPDES permit shall be the sole permit issued by the state
  under this chapter regulating the discharge of pollutants or wastes into surface waters within the state for discharges
  covered by the United States Environmental Protection Agency approved state NPDES program. This legislative
  authority is intended to be sufficient to enable the department to qualify for delegation of the federal NPDES
  program to the state and operate such program in accordance with federal law.”


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  authorization and order to require HRK to discharge millions of gallons of process wastewater
  into Tampa Bay and Piney Point Creek between March 26, 2021 and April 9, 2021 5 is an
  unpermitted discharge in violation of Section 301 of the CWA, 33 U.S.C. § 1311(a), subjecting
  HRK to civil penalties of up to $56,460 per day, per violation, and subjecting FDEP and HRK to
  injunctive relief to immediately abate the cause(s) of the discharge. Under the CWA, the outfalls
  to which discharges occurred are “point sources,” because they are discernible, confined, and
  discrete conveyances of pollution to surface waters. 33 U.S.C. § 1362(14). The receiving waters
  are “navigable waters” under the CWA. Id. § 1362(7) (“navigable waters” means the Waters of
  the United States, including the territorial seas); id. § 1362(8), (9). The wastewater plainly
  qualifies as a pollutant. Id. § 1362(6) (“pollutant” means “dredged spoil, solid waste, incinerator
  residue, sewage, garbage, sewage sludge, munitions, chemical wastes, biological materials,
  radioactive materials, heat, wrecked or discarded equipment, rock, sand, cellar dirt and industrial,
  municipal, and agricultural waste discharged into water”). The intentional release of the
  wastewater to the outfalls and, later, Tampa Bay, constitutes an actionable “discharge of a
  pollutant” Id. § 1362(12). And without question, HRK and FDEP qualify as “persons” subject to
  CWA strict liability. Id. § 1362(5) (“The term ‘person’ means an individual, corporation,
  partnership, association, State, municipality, commission, or political subdivision of a State, or
  any interstate body.”).

          FDEP is liable under the CWA for the discharge of millions of gallons of dangerous
  pollution because it took actions at the site preceding the discharge that it knew, or should have
  known through the exercise of reasonable care and due diligence, would create an extremely
  high likelihood that unlawful discharges would be required at Piney Point. FDEP was well aware
  of the historic pattern of “decanting” or “controlled releases” from the ponds at this site in 1998,
  2001, 2003 and 2011, which made it entirely foreseeable that controlled releases would continue.
  Indeed, FDEP knew a full year prior to the April 2021 release that the ponds were approaching
  capacity, thus imminently requiring yet more controlled releases. See, e.g., HRK presentation to
  MCPA & Wood letter discussed infra. FDEP is also liable because it had prior knowledge that
  the unlawful discharge was going to occur, and maintained control of the situation, both before,
  during, and after the discharge took place. HRK is liable under the CWA as the owner of the
  point source and the party that physically discharged pollutants into navigable waters.

          Finally, the present conditions at Piney Point – conditions that were created by FDEP’s
  actions as both a prior owner of the site and its decision to approve the use of the site for disposal
  of dredged materials – make it extremely likely that future discharges will be required. The
  impoundments at Piney Point are in a hazardous state, with multiple boils and upwelling near the
  toe of the NGS-S. HRK has publicly stated that the site is presently incapable of detaining all the
  precipitation that will fall on it without making unlawful discharges. Thus, under the Supreme
  Court’s decision in Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found., 484 U.S. 49 (1987),
  the likelihood of recurring discharges is present, and suit may be properly brought against FDEP
  and HRK.


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    Upon information and belief, unlawful discharges occurred every day between March 26 and April 9, 2021.
  Notifying Parties suspect other discharges occurred in the days following April 9 as well, and that other discharges
  from different point sources may have occurred between March 26 and April 9, 2021. Notifying Parties will update
  and supplement this Notice Letter as is appropriate.


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  II.    In The Alternative, HRK Discharged Pollutants In Violation Of Its NPDES Permit
         And Violated the Permit’s Operation & Maintenance Requirements

          As an alternative claim, Notifying Parties will allege that HRK’s discharge of millions of
  gallons of wastewater violated the terms of its NPDES permit. Notifying Parties will further
  allege that HRK violated the Operation & Maintenance Requirement of its NPDES permit.
  While Notifying Parties contend that the “Administrative Agreement” between HRK and FDEP
  is not a lawful NPDES permit for the reasons articulated above, in the event a court of competent
  jurisdiction disagrees, then Notifying Parties will file suit against HRK for violating its permit.

         The Administrative Agreement only authorizes discharges from specific outfalls, and
  only so long as the discharge satisfies the effluent limitations contained in the Administrative
  Agreement. Here, on March 29, 2021, FDEP issued Emergency Final Order No. 21-0323, which
  required HRK to discharge into Port Manatee via the NGS-S “decant structure.” Id. ¶ 19. The
  purpose of the alleged bypass was to avoid the risk of catastrophic release from the
  phosphogypsum stacks.

          State and federal law both define “bypass” as “prohibited.” Florida Rules 62-
  620.610(22)(a); 40 C.F.R. § 122.41(m)(4); 40 C.F.R. § 123.25(a)(12). For a bypass to avoid an
  enforcement action, the permittee must provide prior notice and demonstrate that “[t]here were
  no feasible alternatives to the bypass, such as the use of auxiliary treatment facilities, retention of
  untreated wastes, or maintenance during normal periods of equipment downtime.” Id. (a)(1).

          Notifying Parties will allege in the lawsuit that there were feasible alternatives to the
  bypass discharge, chiefly that HRK and FDEP knew, or should have known through the exercise
  of reasonable care and due diligence, that Piney Point was incapable of detaining the amount of
  precipitation falling at the site.

           HRK’s environmental engineer, Wood, provided a letter to FDEP dated March 13, 2020.
  In that letter, Wood explained that the only method of process wastewater disposal was
  utilization of a spray evaporation system, capable of evaporating 0.2 MGD (million gallons per
  day). The letter further explained that “[r]ecent annual process wastewater balance calculations
  have demonstrated that higher annual discharge rates provided through alternative process
  wastewater treatment and disposal methods will need to be implemented to maintain a net zero
  water balance or to meet site closure target dates[.]” As to the NGS-N, the Wood letter stated
  that HRK notified FDEP in February 2020 that the freeboard elevations of the impoundment
  must be reduced, for a 0.44-inch rainfall event on February 26, 2020 exceeded the temporary
  freeboard level by a tenths of a foot. On a second subsequent inspection by another Wood
  employee, the NGS-N pond was observed operating above the maximum allowable level.
  Consequently, “[g]iven the proximity of the upcoming tropical hurricane season, the current
  pond levels and the potential high risk of an uncontrolled release,” Wood recommended a series
  of alternatives to draw down the impoundment, which should be pursued “immediately and
  simultaneously.”

         Because the capacity limitations at the ponds had caused previous discharges in 1998,
  2001, 2003 and 2011, and in light of the Wood letter, FDEP and HRK knew, or should have



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  known, that the same capacity problems would recur and likely continue the pattern of controlled
  releases. Indeed, this is exactly what happened when FDEP and HRK discharged 215 million
  gallons of pollution in 2021.

           In fact, HRK explicitly warned about this problem in a February 2, 2021 presentation to
  the Manatee County Board of County Commissioners. In that presentation, the representative of
  HRK presented a slide showing that the Piney Point HDPE lined impoundments were at serious
  risk of losing containment, due to the continued precipitation falling on the site and the amount
  of storage used up by the Port Manatee Bert 12 expansion project. The graph below shows the
  condition of the site as of January 31, 2021, and demonstrates that the impoundments were
  losing their ability to detain precipitation since as early as January 1, 2014.



                            1/31/21 COMBINED SITE
                                                                                        ~ 748 MGal,
                                                                                          1/28/2021




         Of the three impoundments HRK utilized for retaining precipitation, the “LPWS” had
  only 6.7% remaining capacity; the NGS-S had 4.9% remaining compacity; and the NGS-N had
  only 3.2% remaining capacity. The presentation concluded that, “Based on current water
  volumes, action is needed ASAP.”

          Upon information and belief, HRK and FDEP possessed other material information
  showing that there were feasible alternatives to the bypass, yet decided not to pursue them.
  Accordingly, while FDEP purported to authorize the “bypass,” the discharge did not comply
  with either Florida statutes or federal regulations for bypass, and is therefore an unlawful
  discharge subject to the CWA’s strict liability scheme under 33 U.S.C. § 1311(a). Notifying
  Parties will therefore seek civil penalties against HRK for each day of discharge from each point
  source between March 26 and April 9, 2021 and for each and every violation of the effluent
  limitations contained in the Administrative Agreement, along with all appropriate legal and
  injunctive relief, as well as attorneys’ fees and costs. Upon information and belief, the discharges


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  between March 26 and April 9, 2021 violated each and every effluent limitation contained within
  the Administrative agreement.

           Furthermore, Notifying Parties will allege that HRK violated its NPDES permit by failing
  to properly operate and maintain the treatment and disposal facilities at Piney Point. Para. 8(a)(1)
  of the NPDES permit requires HRK to “ensure that the operation and maintenance of the
  phosphogypsum stack system during closure and long-term care of this facility is in accordance
  with Rule 62-673, F.A.C.” Para. 8(a)(3) requires HRK to “ensure that all aboveground
  impoundments are operated, maintained and inspected in accordance with Rule 62-672, F.A.C.”
  Florida Rule 62-673.340 states that phosphogypsum stacks “shall be…operated, maintained,
  closed, and monitored throughout its design period to control the movement of waste and waste
  constituents into the environment so that ground water and surface water quality standards and
  criteria of Chapters 62-302 and 62-520, F.A.C., will not be violated beyond the applicable zone
  of discharged specified for the system.” Rule 62-673 also identifies numerous other requirements
  for safe and lawful operation of Piney Point, as does Rule 62-672.

           Upon information and belief, HRK violated and remains in violation of Para. 8(a) of its
  NPDES Permit by failing to adequately ensure that the operation and maintenance of Piney Point
  is compliant with the applicable requirements of Florida Rules 62-672 and 62-673. Ground and
  surface water quality standards have been violated by HRK’s discharge of pollutants far in
  excess of the effluent limitations contained in the NPDES Permit. HRK’s public presentation to
  Manatee County evidencing the lack of available water storage at Piney Point further establishes
  HRK’s violations of this aspect of its Permit. HRK has known about this problem for at least the
  past five years, and yet failed to take any corrective action. Upon information and belief, HRK
  has violated this provision of its NPDES Permit each and every day for the past five years. HRK
  is liable for civil penalties of up to $56,460 for each and every day it violated this provision of
  the NPDES Permit. Furthermore, Notifying Parties will allege these violations are ongoing and
  reasonably likely to continue in the future, as HRK has demonstrated it is incapable of operating
  and maintaining the wastewater infrastructure at Piney Point in a manner that is consistent with
  the aforementioned regulations.

                                   ESA LEGAL BACKGROUND

           Congress enacted the ESA in 1973 to provide “a program for the conservation of …
  endangered species and threatened species” and “a means whereby the ecosystems upon which
  endangered species and threatened species depend may be conserved.” 16 U.S.C. § 1531(b). As
  the first step in the protection of these species, Section 4 of the ESA requires the Secretary to list
  species as “endangered” or “threatened” when they meet the statutory listing criteria. Id. § 1533.
  An “endangered” species is one “in danger of extinction throughout all or a significant portion of
  its range,” and a “threatened” species is “likely to become endangered in the near future
  throughout all or a significant portion of its range.” Id. § 1532(6) & (20).

          Once a species is listed, the ESA provides a variety of procedural and substantive
  protections to ensure not only the species’ continued survival, but also its ultimate recovery.
  “Congress has spoken in the plainest words, making it clear that endangered species are to be
  accorded the highest priorities.” TVA v. Hill, 437 U.S. 153, 155 (1978).



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         Section 9 of the ESA prohibits any “person” from “taking” or causing take of any
  member of an ESA-listed sea turtle species. 16 U.S.C. § 1538; 16 U.S.C. § 1533(d); 50 C.F.R. §
  17.42(b). The term “take” means to “harass, harm, pursue, shoot, wound, kill, trap, capture, or to
  attempt to engage in any such conduct.” 16 U.S.C. § 1532(19).

          “Harm” includes significant habitat modification or degradation where it actually kills or
  injures wildlife by significantly impairing essential behavioral patterns, including breeding,
  feeding or sheltering. 50 C.F.R. § 17.3; Babbitt v. Sweet Home Chapter of Communities for a
  Great Oregon, 515 U.S. 687 (1995). “Harass” is an intentional or negligent act or omission
  which creates the likelihood of injury to wildlife by annoying it to such an extent as to
  significantly disrupt normal behavioral patterns which include, but are not limited to, breeding,
  feeding or sheltering. 50 C.F.R. § 17.3. Courts have recognized that, in addition to past and
  current threats of harm, the “likely” threat of future harm also constitutes “take” under the ESA.
  Marbled Murrelet v. Babbitt, 83 F.3d 1060, 1066 (9th Cir.1996); Loggerhead Turtle v. Cnty.
  Council of Volusia Cnty., Florida, 92 F. Supp. 2d 1296, 1302 (M.D. Fla. 2000).

          The ESA’s legislative history supports “the broadest possible” reading of the prohibition
  against take. Babbitt v. Sweet Home Chapter of Communities for a Great Oregon, 515 U.S. at
  704-05. “Take” includes direct as well as indirect harm and need not be purposeful. Id. at 704;
  see also National Wildlife Federation v. Burlington Northern Railroad, 23 F.3d 1508, 1512 (9th
  Cir. 1994). The take prohibition applies to any “person,” 16 U.S.C. § 1538(a)(1), including state,
  county, or municipal agencies and/or officials in their official capacity. Id. § 1532(13). The ESA
  further makes it unlawful for any person, including agencies and/or officials, to “cause to be
  committed” the take of a species. Id. § 1538(g).

           The ESA authorizes private enforcement of the take prohibition through a broad citizen
  suit provision. “[A]ny person may commence a civil suit on his own behalf to enjoin any person,
  including . . . any . . . governmental instrumentality or agency . . . who is alleged to be in
  violation of any provision of [the ESA] . . . .” Id. § 1540(g). A plaintiff may seek to enjoin both
  present activities that constitute an ongoing take and future activities that are reasonably likely to
  result in take. National Wildlife Fed’n v. Burlington Northern Railroad, 23 F.3d 1508, 1511 (9th
  Cir. 1994). The ESA’s citizen suit provision also provides for the award of costs of litigation,
  including reasonable attorney and expert witness fees. 16 U.S.C. § 1540(g)(4).

          The take prohibition applies to any “person,” defined as “an individual, corporation,
  partnership, trust, association, or any other private entity.” 16 U.S.C. §§ 1538(a)(1), 1532(13). It
  applies even if there is no intent to harm or harass and regardless of whether the impact is direct
  or indirect. Babbitt v. Sweet Home Chapter of Communities for a Great Or., 515 U.S. 687, 704-
  05 (1995). An individual who harms a listed species by modifying or degrading its habitat
  commits a “take” in violation of Section 9 of the ESA. Id. at 708.

          Section 10 of the ESA provides a means for ensuring compliance with the prohibitions in
  Section 9 of the Act. Section 10 is applicable to the activities of non-federal entities such as the
  DEP. The primary mechanism for avoiding liability under Section 9 is to apply for and receive
  an incidental take permit (“ITP”). Id. § 1539(a)(1)(B). In exchange for permission to “take” a
  listed species pursuant to an ITP, the permit applicant must commit to implement a plan that
  “conserv[es]” – i.e., facilitates the recovery of – the species. Id. §§ 1539(a)(1)(B), (a)(2)(A); see


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  also Sierra Club v. U.S. Fish and Wildlife Serv., 245 F.3d 434, 441-42 (5th Cir. 2001)
  (“‘[c]onservation’ is a much broader concept than mere survival” because the “ESA’s definition
  of ‘conservation’ speaks to the recovery of a threatened or endangered species” (emphasis
  added)). This plan is called a Habitat Conservation Plan (“HCP”) and it must delineate “the
  impact which will likely result from such taking” and the “steps the applicant will take to
  minimize and mitigate such impacts . . . .” 16 U.S.C. § 1539(a)(2)(A).

  I.      FDEP Authorized the Discharge of Water Harmful to Listed Species into Tampa
          Bay

          Pursuant to the EO, FDEP authorized HRK to discharge up to 480 MG of water from
  NGS-S to Tampa Bay. This water contained process wastewater and water from the 2011 dredge
  project. Prior to discharge, the water tested 160 mg/L of total phosphorous, 230 mg/L of total
  nitrogen, and a pH of 4.7-5.3 s.u. The applicable lower pH standard for marine waters is 6.5. The
  total ammonia nitrogen of the discharged water also exceeded marine water quality standards. A
  discharge from Piney Point in 2004 triggered a macro algae bloom in Bishop Harbor.6 It has
  been projected that the 2021 Piney Point discharge will trigger HABs, including red tides or
  blue-green algae blooms. Such HABs can directly kill and injure listed species as well as
  diminish or eliminate seagrass and other important food for listed species.

          A.       Blue-Green Algae, Cyanobacteria Harm Listed Species
        Cyanobacteria, particularly microcystis aeruginosa has been correlated with nitrogen and
  phosphorous, and toxic strains may have higher nitrogen and phosphorous requirements. 7
  Exposure of Microcystis aeruginosa to saltwater may increase its toxicity. 8

          These cyanobacteria, or blue-green algae as they are commonly known, are hepatoxins
  and have been linked to poisoning and cancer. 9 According to one leading expert, “[c]yanotoxins
  are among the most potent toxins known, far more potent than industrial chemicals.” 10 The non-
  protein amino acid, beta-N-methylamino-L-alanine (BMAA), is a cyanobacteria-derived toxin
  that has been linked to neurodegenerative diseases like ALS (Amyotropihc Lateral Sclerosis) and




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    Balut, D. 2004. Piney Point dumping causes algae bloom in Bishop Harbor. WTSP. Feb. 12, 2004.
  https://www.wtsp.com/article/news/local/piney-point-dumping-causes-algae-bloom-in-bishop-harbor/67-
  396514258.
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    Cessa, M. (ed). 2014. Beaches: Erosion, Management Practices and Environmental Implications. Environmental
  Health-Physical, Chemical and Biological Factors.
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    Rosen, B.H. et al. 2018. Understanding the effect of salinity tolerance on cyanobacteria associated with a harmful
  algal bloom in Lake Okeechobee, Florida: U.S. Geological Survey Scientific Investigations Report 2018-5092, 32 p.
  https://doi.org/10.3133/sir20189082.
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    A hepatoxin is a toxic chemical that damages the liver. Zanchett, G. and Oliveira-Filho, E.C. 2013. Cyanobacteria
  and Cyanotoxins: From Impacts on Aquatic Ecosystems and Human Health to Anticarcinogenic Effects. Toxins
  2013, 5.
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     Hudnell, K. 2009. Congressional Testimony.


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  Parkinsonism Dementia Complex (ALS/PDC).11 Most cyantobacteria produce BMAA.12 People
  near blue-green algae blooms likely inhale the toxins deep into their lungs.13 BMAA can
  biomagnify up some food chains and may pose an increasing human health risk. 14 BMAA
  biomagnification has been recorded in cyanobacteria to cycads to fruit bats, feral pigs, and flying
  squirrels.15 The Chamorro of Guam, who consumed the bats, pigs and squirrels had a 100-fold
  increase in ALS/PDC.16 The Chamorro who died of these neurodegenerative diseases as well as
  Canadian patents with Alzheimer’s disease had high concentrations of BMAA. 17 There is
  concern that people exposed to waterborne BMAA may have an increased risk of
  neurodegenerative disease. 18

          BMAA concentrations of animals exposed to cyanobacteria have been observed in
  Florida.19 Bottlenose dolphins can eat similar diets to humans (fish and crustaceans), and those
  that have died in the Indian River Lagoon have similar concentrations of BMAA in their brains
  as humans that have died of neurodegenerative diseases.20 Impacted wildlife in Florida have been
  found to have similar concentrations of BMAA as in impacted wildlife in Guam. 21 Even coral in
  Florida are being overgrown by cyanobacteria and cyanobacterial diseases. 22

          As of April 21, 2021, FDEP had detected up to 0.38 ppb of cyanotoxins,23 and it was
  reported that FDEP detected cyanotoxins in water samples in Tampa Bay “increasing chances
  that the discharge at Piney Point will trigger a blue-green algae bloom.”24

  11
     Banack, S.A. et al. 2010. The Cyanobacteria Derived Toxin Beta-N-Methylamino-L-Alanine and Amyotrophic
  Lateral Sclerosis Toxins 2010, 2, 2837-2850; doi: 10.3390/toxins2122837; Bienfang, P.K. et al. 2011. Prominent
  Human Health Impacts from Several Marine Microbes: History, Ecology, and Public Health Implications.
  International Journal of Microbiology. Vol. 2011. Article ID 152815; doi:10.1155/2011/152815.
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     Brand, L. et al. 2010. Cyanobacteria Blooms and the Occurrence of the neurotoxin beta-N-methylamino-L-alanine
  (BMAA) in South Florida Aquatic Food Webs. Harmful Algae. 2010 Sept. 1; 9(6): 620-635;
  doi:10.1016/j.hal.2010.05.002 (Brand 2010).
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  Myers News-Press. Nov. 27, 2018.
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     Brand, L. 2009. Human exposure to cyanobacteria and BMAA. Amyotrophic Lateral Sclerosis, 2009,
  (Supplement 2): 85-95 (Brand 2009).
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     Cox, P.A. and O.W. Sacks. 2002. Cycad neurotoxins, consumption of flying foxes, and ALS-PDC disease in
  Guam. Neurology. 2002 Mar. 26; 5896): 956-9; Holtcamp, W. 2012. The Emerging Science of BMAA.
  Environmental Health Perspectives. Vol. 120, No. 3.
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     Murch, S.J. et al. 2004. Occurrence of B-methylamino-L-alanine (BMAA) in ALS/PDC patients from Guam. Acta
  Neurol Scand. 2004; 110: 267-9.
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     Pablo, J. et al. 2009. Cyanobacterial neurotoxin BMAA in ALS and Alzheimer’s disease. Acta Neurol Scand.
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     Metclaf, J. and G. Codd. 2009. Cyanobacteria, neurotoxins and water resources: Are there implications for human
  neurodegenerative disease? Amyotrophic Lateral Sclerosis, 2009; (Supplement 2): 74-78.
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     Brand 2010.
  20
     Brand 2009; Brand 2010.
  21
     Brand 2009.
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     Paul, V.J. et al. 2005. Benthic cyanobacterial bloom impacts the reefs of southern Florida (Broward County,
  USA), Coral Reefs. 2005; 24:693-7; Richardson, L.L. et al. 2003. Ecological physiology of the black band disease
  cyanobacterium Phormidium corallyticum. FEMS Microbiol Ecol. 2003; 43:287-98.
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     https://protectingfloridatogether.gov/PineyPointUpdate.
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     Shedden, M. 2021. Heightened Blue-Green Algae Levels Found in Waters Near Piney point. WUSF.
  https://wusfnews.wusf.usf.edu/environment/2021-04-17/heightened-blue-green-algae-levels-found-in-waters-near-
  piney-point.


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           B.       Red Tide, Brevetoxin Harm Listed Species
         Red tide has been called “one of the most common chemical stressors impacting South
  Florida coastal and marine ecosystems,” 25 and studies suggests that nutrients including
  phosphorous and nitrogen from discharges as well as biomass killed by cyanobacteria can
  energize or reawaken red tide. 26 Red tide is caused by the dinoflagellate Karenia brevis which
  produces brevetoxins which kill fish, 27 make filter-feeding fish extremely toxic to other animals,
  and cause respiratory and intestinal distress in humans.28 Red tide has also been linked to land
  mammal and bird mortality,29 and can bioaccumulate.30 Exposed fish and seagrasses can

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     Pierce, R.H. 2008. Harmful algal toxins of the Florida red tide (Karenia brevis): natural chemical stressors in
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  Olascoaga, M.J. et al. 2008. Tracing the Early Development of Harmful Algal Blooms on the West Florida Shelf
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  mediated competition on marine plankton. PNAS. June 17, 2014. Vol. 11. No. 24. 9009-9014; Morey, J. et al. 2011.
  Transcriptomic response of the red tide dinoflagellate, Karenia brevis, to nitrogen and phosphorus depletion and
  addition. Genomics 2011, 12.346; Garrett, M. 2011. Harmful algal bloom species and phosphate-processing
  effluent: Field and laboratory studies. Marine Pollution Bulletin 62 (2011) 596-601; Heil, C.A. et al. 2014. Blooms
  of Karenia brevis (Davis) G. Hansen & O. Moestrup on the West Florida Shelf: Nutrient sources and potential
  management strategies based on a multi-year regional study. Harmful Algae 38 (2014) 127-43; Killberg-Thoreson,
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  Harmful Algae 38 (2014) 40-49; Mulholland, M.R. et al. 2014. Contribution of diazotrpohy to nitrogen inputs
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  Research 28 (2008) 24-44; Munoz, C. 2018. Scientists: Lake Okeechobee runoff may enhance red tide. Daily
  Commercial. Oct. 11, 2018.
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     Rolton, A. et al. 2014. Effects of the red tide dinoflagellate, Karenia brevis, on early development of the eastern
  oyster Crassostrea virginica and northern quahog Mercenaria mercenaria. Aquatic Toxicology 155 (2014) 199-206;
  Rolton, A. et al. 2015. Susceptibility of gametes and embryos of the eastern oyster, Crassostrea virginica, to Karenia
  brevis and its toxins. Toxicon 99 (2015) 6-15; Rolton, A. et al. 2016. Effects of field and laboratory exposure to the
  toxic dinoflagellate Karenia brevis on the reproduction of the eastern oyster, Crassostrea virginia, and subsequent
  development of offspring. Harmful Algae 57 (20016) 13-26; Walsh, J.J. et al. 2009. Isotopic evidence for dead fish
  maintenance of Florida red tides, with implications for coastal fisheries over both source regions of the west Florida
  shelf and within downstream waters of the South Atlantic Bight. Progress in Oceanography 80 (2009) 51-73.
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     Backer, L. et al. 2005. Occupational Exposure to Aerosolized Brevetoxins during Florida Red Tide Events:
  Effects on a Healthy Worker Population. Environmental Health Perspectives. Vol. 113. Iss. 5. May 2005; Bienfang,
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  Health Implications. International Journal of Microbiology Vol. 2011. Art. ID 152815; CDC. 2008. Illness
  Associated with Red Tide – Nassau County, Florida, 2007; Fleming, L. 2005. Initial Evaluation of the Effects of
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  Sailing Trip. Mayo Clin Proc. Sept. 2007; 82(9): 1128-1130.
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     Castle, K. et al. 2013. Coyote (Canis latrans) and domestic dog (Canis familiaris) mortality and morbidity due to a
  Karenia brevis red tide in the Gulf of Mexico. Journal of Wildlife Diseases, 49(4), 2013, pp. 955-64; Kreuder, C.
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  along the Florida Gulf coast. Journal of Zoo and Wildlife Medicine, 33(1):8-15.
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  accumulate high concentrations of brevetoxins and act as toxin vectors to dolphins and
  manatees.31 People generally do not become aware of its presence until it reaches above 100,000
  cells/l, which is when it leads to fish kills,32 shellfish toxicity, and respiratory distress. 33

         There has been an increase in red tide in southwest Florida since 1954, in abundance and
  frequency.34 Other red tide impacts include paralytic shellfish poisoning, 35 neurotoxic shellfish
  poisoning, ciguatera fish poisoning, fish kills, loss of submerged vegetation, shellfish mortalities,
  and marine mammal mortalities. 36 Brevetoxins are large, lipid soluble molecules that
  bioaccumulate in fatty tissue and are not easily shed or excreted. 37 As a result, sublethal
  concentrations can have lethal consequences. 38 Because k.brevis is a particularly delicate
  dinoflagellate, turbulence can break apart the cells and aerosolize the brevetoxins, which are then
  inhaled and can cause respiratory distress. 39

           Eerera et al. (2011) determined that by rapidly changing salinity to simulate the shift
  from oceanic to coastal conditions, brevetoxin was triggered, showing that brevetoxin production
  can increase dramatically in response to osmotic stress regardless of the initial source of the red
  tide.40 Sources contributing to red tide include nutrients in runoff, iron-rich atmospheric dust,
  dead marine life, and nutrient rich groundwater.41

  At concentrations of >100,000 cells/l, the 12 brevetoxins produced by red tide can and have
  killed marine animals, including fish, sea turtles, manatee, sea birds, and dolphins. 42 Brevetoxins



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  account for deaths long after or remote from an algal bloom. Nature. 2005. June 9; 435(7043).
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  from red tide have long been known to cause manatee mortality.43 One study found markedly
  less shrimp and fish activity during red tide. 44 Meanwhile, almost nothing is known about the
  longterm chronic exposure.45

         As of April 21, 2021, FDEP is reporting background to medium levels of red tide in
  Sarasota (100,000-1,000,000 cells/l) and background levels in Hillsborough County. 46

          C.       Harmful Algal Blooms Harm Listed Species

          Red tide and blue-green algae blooms can individually, collectively, and synergistically
  kill marine wildlife, including ESA-listed species like sea turtles and Florida manatees. 47 The
  National Oceanic Atmospheric Administration has collected data on unusual mortality events
  finding that 41 percent of marine mammal deaths 1991-2013 were due to HAB toxin exposure. 48

          There have been numerous descriptions of mammal and bird mortalities associated with
  exposure to cyanobacteria. 49 HABs may have both direct and indirect impacts to fish and wildlife
  from the bottom of the food chain up. 50 Cyanotoxins can influence the structure of zooplankton
  communities and reduce the filtration capacity and survival of offspring. 51 Ingestion of
  microcystins can result in lethal poisoning. 52 Cyanotoxins can also inhibit the growth of
  underwater plants, and adversely affect aquatic invertebrates such as mollusks by reducing food
  intake, filtration, absorption and fecal loss, and the scope for growth. 53

          Fish can be exposed to microcystins while feeding or through the gills during breathing. 54
  Fish in the early life stages are generally more sensitive.55 HABs can result in damage to the
  liver, hearth, kidney, skin, gills, and the spleen. 56 Microcystins can induce disruption of the
  cytoskeletal network of the liver, leading to massive pool of blood, followed by sinusoid


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  and human health to anticarcinogenic effects, Toxins 5(10): 1896-1917, doi: 10:3390/toxins5101896.
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     Id.
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     Id.


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  destruction and ultimately death as a result of hepatic hemorrhaging. 57 HABs can induce high pH
  and ammonia from the decomposition of cyanobacteria, causing damage to fish gills. 58 This gill
  damage may enhance microcystin uptake, leading to liver necrosis.59 Aquatic animals may die as
  a result of toxins from cells or a reduction in the amount of dissolved oxygen from the bloom
  decay process.60

          Cyanotoxins can bioaccumulate in aquatic invertebrates and aquatic vertebrates and
  cyanotoxins may be transported through the food web.61 Cyanotoxins can accumulate in
  zooplankton and aquatic invertebrates, thereby affecting fish that feed on plankton. 62 Piscivorous
  birds in turn consume cyanotoxins in the contaminated fish.63 There has been increasing concern
  about HABs in wildlife refuges and other areas where animals, especially birds, congregate in
  large numbers.64 Meanwhile, from July 2018 - December 6, 2018, 126 bottlenose dolphins have
  been stranded due to exposure to red tide. 65 Certain cyanotoxins, like Microcystis aeruginosa,
  release cellular microcystin into the environment when they reach the marine environment. 66

  Sea turtles

         FWS and NMFS have designated the Northwest Atlantic Ocean Distinct Population
  Segments of loggerhead and green sea turtles as threatened under the ESA. Juveniles and adult
  loggerheads in coastal waters eat mostly bottom dwelling invertebrates such as whelks, other
  mollusks, horseshoe crabs, and other crabs. Green sea turtles eat seagrass and algae.

         The southeastern United States has the world’s largest number of loggerhead nests, with
  90% of nesting in Florida.67 Loggerhead sea turtles nest on and use waters in and near Tampa
  Bay.68



  57
     Masango, M.G., J.G. Myburgh, L. Labuschagne, D. Govender, R.G. Bengis, and D. Naicker. 2010. Assessment of
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  Ceriani, S.A. and A.B. Melyan. 2017. Caretta caretta (North West Atlantic subpopulation) loggerhead turtle. The
  IUCN Red List of Threatened Species.
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     FWC. 2018. Loggerhead Nesting in Florida. (FWC 2018b).


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  The second largest aggregation of green sea turtle nesting is in Florida, 69 and they use waters in
  and nest near Tampa Bay.




  69
       FWC. 2018. Green Turtle Nesting in Florida. (FWC 2018c).


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  On July 10, 2104, FWS and NMFS designated critical habitat for the Northwest Atlantic Ocean
  Distinct Population Segment of the loggerhead sea turtle (Caretta caretta).70




  70
    79 Fed. Reg. 39756, Endangered and Threatened Wildlife and Plants; Designation of Critical Habitat for the
  Northwest Atlantic Ocean Distinct Population Segment of the Loggerhead Sea Turtle, (July 10, 2014); 79 Fed. Reg.
  39356, Endangered and Threatened Species: Critical Habitat for the Northwest Atlantic Ocean Loggerhead Sea
  Turtle Distinct Population Segment (DPS) and Determination Regarding Critical Habitat for the North Pacific
  Ocean Loggerhead DPS, (July 10, 2014).


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          Red tide with concentrations of karenia brevis of at least 100,000 cells/l is the
  concentration at which the Florida Fish and Wildlife Conservation Commission (FWC) believes
  sea turtle mortality due to brevetoxicosis typically begins to occur. It is believed that red tide
  exposure may pose significant implications for immune function in loggerhead sea turtles. 71

  Florida manatee

          The Florida manatee, listed as an endangered species in 1967,72 has continued to suffer
  from habitat loss and unnatural mortalities since the time of its listing. FWS designated critical
  habitat for the Florida manatee in 1976, 73 including in Tampa Bay in Hillsborough, Manatee, and
  Sarasota counties.74

          Manatees rely on seagrass as their primary food source. HABs and poor water quality can
  diminish or eliminate seagrass. Water quality was a primary area of concern for NMFS in
  designating critical habitat. Decreased water transparency caused by suspended sediments, water
  color, and chlorophylls could have significant detrimental effects on the distribution and
  abundance of seagrass. Nutrient over-enrichment can stimulate increased algal growth that may
  smother seagrass, shade rooted vegetation, and diminish the oxygen content of the water. Low
  oxygen conditions have a demonstrated negative impact on seagrasses and associated
  communities.75

        Red tide can cause direct mortality of manatees, but can also cause sublethal impacts.76
  FWC reported that red tide has contributed to the deaths of 207 Florida manatees January-
  December 12, 2018.77 The brevetoxin binds to manatees’ brains, leading to edema and
  hemorrhaging,78 and ultimately leads to their death. 79




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  Toxicology 97 (2010) 293-303.
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     The manatee was originally listed under the Endangered Species Prevention Act of 1966 in 1967. It was later
  listed as endangered species in 1973 under the Endangered Species Act. 12-month Finding on a Petition to Revise
  Critical Habitat for Florida manatee (Trichechus manatus latirostris), 75 Fed. Reg. 1574 (Jan. 12, 2010).
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     Id. at 1574.
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     41 Fed. Reg. 41916 (September 24, 1976).
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     65 Fed. Reg. 17788.
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     Walsh, C. 2015. Sublethal red tide exposure in free-ranging manatees (Trichechus manatus) affects the immune
  system through reduced lymphocyte proliferation responses, inflammation, and oxidative stress. Aquatic Toxicology
  161 (2015) 73-84.
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     Hagan, A. 2018. Red tide has contributed to the deaths of nearly 190 Florida manatees, FWC says.
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  Manatees Carcasses Collected Within the Known Red Tide Bloom Boundary.
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     Bossart, G. et al. 1998. Brevetoxicosis in Manatees (Trichechus manatus latirostris) from the 1996 Epizootic:
  Gross, Histologic, and Immunohistochemical Features. Toxicologic Pathology.
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     Landsberg, J.E. et at. 2009. Karenia brevis red tides, brevetoxins in the food web, and impacts on natural
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  II.    FDEP, HRK, and MCPA Are Liable for Take of Listed Species

           In view of these myriad ways in which the actions undertaken by FDEP, HRK, and
  MCPA, including but not limited to its authorization for the release of highly hazardous
  materials into the marine environment, pose grave and ongoing threats to manatees and sea
  turtles, FDEP, HRK, and MCPA are in violation of section 9 of the ESA. The actions taken by
  FDEP, HRK, and MCPA are not only likely, but reasonably certain, to foreseeably result in the
  “take” of individual manatees and sea turtles, i.e., by killing them as well as through “harm” and
  “harassment” as defined by the ESA implementing regulations.

          Indeed, authorizing the discharge of nutrient-laden wastewater into areas occupied by
  manatees and sea turtles constitutes a textbook example of harming through “significant habitat
  modification or degradation [that] actually kills or injures wildlife by significantly impairing
  essential behavior patterns, including breeding, feeding, or sheltering.” 50 C.F.R. § 17.3.
  Likewise, FDEP, HRK, and MCPA’s authorization(s), as well as its long history of intentional
  and intentional actions culminating in the current deplorable state of affairs, plainly constitute
  “intentional or negligent act[s] or omission[s] which create[] the likelihood of injury to wildlife
  by annoying it to such an extent as to significantly disrupt normal behavioral patterns,” including
  the use of seagrasses for “breeding, feeding, or sheltering.” Id.


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          FDEP, HRK, and MCPA have never applied for, let alone received, an Incidental Take
  Permit under Section 10 of the ESA. Consequently, the take by FDEP, HRK, and MCPA of
  listed species is unauthorized and these parties are in violation of the ESA.

                PARTIES PROVIDING THIS NOTICE OF INTENT TO SUE

         The names, addresses, and phone numbers of the people giving this Notice of Intent to
  Sue are:

   Center for Biological Diversity                 ManaSota-88, Inc.
   P.O. Box 710                                    419 Rubens Drive
   Tucson, AZ 85702                                Nokomis, FL 34275
   Tel: (520) 623-5252                             Tel: (941) 966-6256

   Our Children’s Earth Foundation, Inc.           Tampa Bay Waterkeeper, Inc.
   1625 Trancas St., #2218                         260 1st Ave S
   Napa, CA 94558                                  Box 226
   Tel: (510) 910-4535                             Saint Petersburg, FL 33701
                                                   Tel: (813) 563-9882
   Suncoast Waterkeeper, Inc.
   3008 Bay Shore Rd.
   Sarasota, FL 34234
   Tel: (941) 202-3182

          The names, addresses, and phone numbers of Counsel for the parties giving this Notice of
  Intent to Sue are:

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                                            CONCLUSION

          We will be available to discuss effective remedies and actions that will assure FDEP,
  MCPA, and HRK’s future compliance with RCRA, CWA, ESA, and all other applicable state
  and federal environmental laws. If you wish to avail yourself to this opportunity and avoid the
  need for adversarial litigation, or if you have any questions regarding this letter, please contact
  the undersigned. If you are or will be represented by an attorney, please also have that attorney
  contact the undersigned.

                                                                /s/ Charles M. Tebbutt
                                                                Charles M. Tebbutt
                                                                Attorney for Notifying Parties

  Other Recipients Receiving This Notice Via Certified Mail, Return Receipt Requested:

   Michael S. Regan                                   John Blevins
   Administrator                                      Acting Regional Administrator
   U.S. Environmental Protection Agency               U.S. Environmental Protection Agency,
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   Mail Code: 1101A                                   Sam Nunn Atlanta Federal Center
   Washington, D.C. 20460                             61 Forsyth Street, SW
                                                      Atlanta, GA 30303-8960

   Timothy Bahr                                       Merrick Garland, Attorney General
   Director, Waste Management Division                United States Department of Justice
   Florida Department of Environmental                950 Pennsylvania Avenue, N.W.
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  Ashley Moody, Attorney General
  Office of the Attorney General
  State of Florida
  PL-01 The Capitol
  Tallahassee, FL 32399-1050




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